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 7
                             UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 9
     STATE OF WASHINGTON; STATE OF                        NO.
10   ARIZONA; STATE OF ILLINOIS; and
     STATE OF OREGON,                                     COMPLAINT FOR
11                                                        DECLARATORY AND
                               Plaintiffs,                INJUNCTIVE RELIEF
12
        v.
13
     DONALD TRUMP, in his official capacity
14   as President of the United States; U.S.
     DEPARTMENT OF HOMELAND
15   SECURITY; BENJAMINE HUFFMAN, in
     his official capacity as Acting Secretary of
16   Homeland Security; U.S. SOCIAL
     SECURITY ADMINISTRATION;
17   MICHELLE KING, in her official capacity
     as Acting Commissioner of the Social
18   Security Administration; U.S.
     DEPARTMENT OF STATE; MARCO
19   RUBIO, in his official capacity as Secretary
     of State; U.S. DEPARTMENT OF
20   HEALTH AND HUMAN SERVICES;
     DOROTHY FINK, in her official capacity
21   as Acting Secretary of Health and Human
     Services; U.S. DEPARTMENT OF
22   JUSTICE; JAMES MCHENRY, in his
     official capacity as Acting Attorney
23   General; U.S. DEPARTMENT OF
     AGRICULTURE; GARY WASHINGTON,
24   in his official capacity as Acting Secretary
     of Agriculture; and the UNITED STATES
25   OF AMERICA,
26                             Defendants.


     COMPLAINT FOR DECLARATORY AND                   1             ATTORNEY GENERAL OF WASHINGTON
                                                                            Civil Rights Division
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 1                                          I.      INTRODUCTION
 2           1.       The States of Washington, Arizona, Illinois, and Oregon bring this action to
 3   protect the States—including their public agencies, public programs, public fiscs, and state
 4   residents—against the illegal actions of the President and federal government that purport to
 5   unilaterally strip United States citizens of their citizenship.
 6           2.       The President’s Executive Order, issued on January 20, 2025, and styled
 7   “Protecting the Meaning and Value of American Citizenship” (Citizenship Stripping Order),1 is
 8   contrary to the plain terms of the Fourteenth Amendment’s Citizenship Clause and Section 1401
 9   of the Immigration and Nationality Act. The President has no authority to amend the Constitution
10   or supersede the Citizenship Clause’s grant of citizenship to individuals born in the United
11   States. Nor is he empowered by any other constitutional provision or law to determine who shall
12   or shall not be granted United States citizenship at birth. The Fourteenth Amendment and federal
13   law automatically confer citizenship upon individuals born in the United States and subject to
14   its jurisdiction.
15           3.       If the Citizenship Stripping Order is allowed to stand, the Plaintiff States and their
16   residents will suffer immediate and irreparable harm. Nationally, in 2022 alone, there were
17   approximately 255,000 births of citizen children to non-citizen mothers without lawful status
18   (undocumented) and approximately 153,000 births to two undocumented parents. In
19   Washington, in 2022 alone, approximately 7,000 United States citizen children were born to
20   mothers who lacked legal status and approximately 4,000 United States citizen children were
21   born to two parents who lacked legal status. In Arizona, in 2022 alone, there were approximately
22   6,000 United States citizen children born to mothers who lacked legal status and approximately
23   3,400 United States citizen children born to two parents who lacked legal status. Likewise, in
24   Illinois, in 2022 alone, there were approximately 9,100 United States citizen children born to
25
             1
               Available at: https://www.whitehouse.gov/presidential-actions/2025/01/protecting-the-meaning-and-
26   value-of-american-citizenship/, attached as Ex. A.


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 1   mothers who lacked legal status and approximately 5,200 United States citizen children born to
 2   two parents who lacked legal status. And in Oregon, in 2022 alone, there were approximately
 3   2,500 United States citizen children born to mothers who lacked legal status and approximately
 4   1,500 United States citizen children born to two parents who lacked legal status. Using these
 5   numbers, likely more than 12,000 babies born in the United States each month who are entitled
 6   to citizenship—including more than 1,100 babies born each month in the Plaintiff States—will
 7   no longer be considered United States citizens under the Citizenship Stripping Order and will be
 8   left with no immigration status. This estimate is conservative, because it includes only a subset
 9   of the newborns that would be stripped of citizenship. The actual number of newborns affected
10   in Plaintiff States is certainly higher.
11           4.      The individuals who are stripped of their United States citizenship will be
12   rendered undocumented, subject to removal or detention, and many will be stateless—that is,
13   citizens of no country at all. They will lose eligibility for myriad federal benefits programs. They
14   will lose their right to travel freely and re-enter the United States. They will lose their ability to
15   obtain a Social Security number (SSN) and work lawfully. They will lose their right to vote,
16   serve on juries, and run for certain offices. And they will be placed into lifelong positions of
17   instability and insecurity as part of a new underclass in the United States. In short, despite the
18   Constitution’s guarantee of their citizenship, thousands of newborns and children will lose their
19   ability to fully and fairly be a part of American society as a citizen with all its benefits and
20   privileges.
21           5.      The Citizenship Stripping Order will also directly injure the Plaintiff States. The
22   Plaintiff States will suffer immediate and irreparable harm by losing federal funding or
23   reimbursements to programs that the Plaintiff States administer, such as Medicaid, the Children’s
24   Health Insurance Program (CHIP), foster care and adoption assistance programs, and programs
25   to facilitate streamlined issuance of SSNs to eligible babies—among others. By purporting to
26   unilaterally strip citizenship from individuals born in the Plaintiff States based on their parents’


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 1   citizenship or immigration status, the Plaintiff States will be forced to bear significantly
 2   increased costs to operate and fund programs that ensure the health and well-being of their
 3   residents. The Plaintiff States will also be required—on no notice and at their considerable
 4   burden and expense—to immediately begin modifying their funding and operational structures
 5   and administration of programs to account for this change. This will impose significant
 6   administrative and operational burdens for multiple of the Plaintiff States’ agencies that operate
 7   programs for the benefit of their residents.
 8          6.      To prevent the President’s and the federal government’s unlawful action from
 9   harming the Plaintiff States and their residents, the Court should invalidate the Citizenship
10   Stripping Order in its entirety and enjoin any actions taken to implement its directives.
11                               II.     JURISDICTION AND VENUE
12          7.      The Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1346(a)(2). The
13   Court has further remedial authority under the Declaratory Judgment Act, 28 U.S.C. §§ 2201(a)
14   and 2202.
15          8.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)(2) and
16   1391(e)(1). Defendants are United States agencies or officers sued in their official capacities.
17   The State of Washington is a resident of this judicial district and a substantial part of the events
18   or omissions giving rise to this Complaint occurred within the Seattle Division of the Western
19   District of Washington, including the harms to UW Medicine at its Montlake and Northwest
20   campuses, as well as at Harborview Medical Center in Seattle.
21                                           III.    PARTIES
22                                             PLAINTIFFS
23          9.      The State of Washington is a sovereign state of the United States of America.
24          10.     The Attorney General of Washington is the chief legal adviser to the State and is
25   authorized to act in federal court on behalf of the State on matters of public concern.
26          11.     The State of Arizona is a sovereign state of the United States of America.


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 1            12.    The Attorney General of Arizona is the chief legal officer of the State and is
 2   authorized to act in federal court on behalf of the State.
 3            13.    The State of Illinois is a sovereign state of the United States of America.
 4            14.    The Attorney General of Illinois is the chief legal officer of the State and is
 5   authorized to act in federal court on behalf of the State on matters of public concern. See Ill.
 6   Const. art. V, § 15; 15 ILCS 205/4.
 7            15.    The State of Oregon is a sovereign state of the United States of America.
 8            16.    The Attorney General of Oregon is the chief legal officer of the State of Oregon
 9   and is authorized to act in federal court on behalf of the State on matters of public concern.
10            17.    The Plaintiff States are aggrieved and have standing to bring this suit because
11   Defendants’ action purporting to strip citizenship from United States citizens born and residing
12   in the Plaintiff States, receiving benefits in the Plaintiff States, and receiving government
13   services in the Plaintiff States—including children who are wards of the Plaintiff States and in
14   their custody—harms the Plaintiff States’ sovereign, proprietary, and quasi-sovereign interests
15   and will continue to cause injury unless and until enforcement of the Citizenship Stripping Order
16   is permanently enjoined.
17                                            DEFENDANTS
18            18.    Defendant Donald Trump is the President of the United States. He is sued in his
19   official capacity.
20            19.    Defendant Department of Homeland Security (DHS) is a federal cabinet agency
21   responsible for implementing the Citizenship Stripping Order, including by issuing regulations,
22   policies, and guidance consistent with the Executive Order. DHS is a department of the
23   Executive Branch of the U.S. Government and is an agency within the meaning of 5 U.S.C.
24   § 552.
25            20.    Defendant Benjamine Huffman is the Acting Secretary of Homeland Security.
26   He is responsible for implementing and enforcing the Immigration and Nationality Act, and


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 1   oversees the U.S. Citizenship and Immigration Services, U.S. Immigration and Customs
 2   Enforcement, and U.S. Customs and Border Protection. He is sued in his official capacity.
 3            21.   Defendant United States Social Security Administration (SSA) is a federal
 4   agency responsible for administering federal retirement, survivors, and disability income
 5   programs, as well as the program of supplemental security income for the aged, blind, and
 6   disabled. The SSA processes applications for and issues Social Security numbers (SSNs) to
 7   eligible applicants. SSA is responsible for implementing, the Citizenship Stripping Order,
 8   including by ceasing issuance of SSNs to children born in the United States but subject to the
 9   Citizenship Stripping Order’s interpretation of the Citizenship Clause. SSA is a department of
10   the Executive Branch of the U.S. Government and is an agency within the meaning of 5 U.S.C.
11   § 552.
12            22.   Defendant Michelle King is the Acting Commissioner of the SSA. The Office of
13   the Commissioner is directly responsible for all programs administered by the SSA, including
14   the development of policy, administrative and program direction, and program interpretation and
15   evaluation. She is sued in her official capacity.
16            23.   Defendant United States Department of State is responsible for implementing the
17   Citizenship Stripping Order, including by issuing regulations, policies, and guidance consistent
18   with the Order. The State Department is a department of the Executive Branch of the U.S.
19   Government and is an agency within the meaning of 5 U.S.C. § 552. It is authorized by law to
20   grant and issue passports.
21            24.   Defendant Marco Rubio is the Secretary of State. He is responsible for carrying
22   out the President’s foreign policies through the State Department and Foreign Service of the
23   United States. He is sued in his official capacity.
24            25.   Defendant United States Department of Health and Human Services (HHS) is a
25   federal cabinet agency responsible for implementing the Citizenship Stripping Order, including
26   through the administration of Medicaid, the Children’s Health Insurance Plan, and Title IV-E.


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 1   HHS is a department of the Executive Branch of the U.S. Government and is an agency within
 2   the meaning of 5 U.S.C. § 552. HHS is responsible for implementing the Citizenship Stripping
 3   Order in its agency program, operations, and activities.
 4           26.     Defendant Dorothy Fink is the Acting Secretary of Health and Human Services.
 5   She is responsible for overseeing and administering all HHS programs through the Office of the
 6   Secretary and HHS’s Operating Divisions. She is sued in her official capacity.
 7           27.     Defendant United States Department of Justice (DOJ) is a federal cabinet agency
 8   responsible for the federal government’s legal affairs. The DOJ is a department of the Executive
 9   Branch of the U.S. Government and is an agency within the meaning of 5 U.S.C. § 552. DOJ is
10   responsible for implementing the Citizenship Stripping Order, including by ensuring agency
11   regulations are consistent with the Order.
12           28.     Defendant James McHenry is the Acting Attorney General of the United States.
13   He is responsible for overseeing and administering all duties and programs of the DOJ. He is
14   sued in his official capacity.
15           29.     Defendant United States Department of Agriculture (USDA) is a cabinet-level
16   department of the United States. USDA is in charge of administering the Supplemental Nutrition
17   Assistance Program (SNAP), which provides food benefits to eligible low-income families to
18   supplement their grocery budget. USDA is responsible for implementing the Citizenship
19   Stripping Order in its agency operations and activities.
20           30.     Defendant Gary Washington is the Acting Secretary of Agriculture. He is
21   responsible for overseeing and administering all USDA programs. He is sued in his official
22   capacity.
23           31.     Defendant the United States of America includes all government agencies and
24   departments responsible for the implementation, modification, and execution of the Citizenship
25   Stripping Order.
26


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 1                                       IV.     ALLEGATIONS
 2   A.     The United States Constitution Confers Automatic Citizenship on All Individuals
            Born in the United States and Subject to the Jurisdiction Thereof
 3
            32.     Section 1 of the Fourteenth Amendment to the United States Constitution states:
 4
     “All persons born or naturalized in the United States, and subject to the jurisdiction thereof, are
 5
     citizens of the United States and of the State wherein they reside.” U.S. Const. amend. XIV, § 1.
 6
     This provision is known as the Citizenship Clause. The Citizenship Clause’s automatic conferral
 7
     of citizenship on all individuals born in the United States and subject to its jurisdiction,
 8
     regardless of the citizenship or immigration status of their parents, is confirmed by the
 9
     Fourteenth Amendment’s text and history, judicial precedent, and longstanding Executive
10
     Branch interpretation.
11
            33.     The Citizenship Clause was passed and ratified as part of the Fourteenth
12
     Amendment following the Civil War to overturn the Supreme Court’s infamous holding in Dred
13
     Scott v. Sanford, 60 U.S. 393 (1857), where the Supreme Court ruled that Black Americans who
14
     were enslaved or were descended from enslaved persons could not be citizens. The Citizenship
15
     Clause reaffirmed the longstanding common law principle of jus soli as the default rule of
16
     citizenship in the United States: All individuals born in the United States and subject to its
17
     jurisdiction are citizens. Its operation is automatic. No further action is required for individuals
18
     born in the United States to “become” citizens and no additional limitations are imposed.
19
            34.     Unlike the Naturalization Clause, U.S. Const. art. I, § 8, cl. 4, which empowers
20
     Congress to set rules for naturalization, the Constitution nowhere else speaks to citizenship by
21
     birth in the United States and nowhere empowers the President or Congress to set additional
22
     requirements that override or conflict with the Citizenship Clause’s plain and broad grant of
23
     automatic citizenship to individuals born in the United States.
24
            35.     The Citizenship Clause contains no exceptions based on the citizenship or
25
     immigration status of one’s parents or their country of origin. Rather, the Citizenship Clause’s
26


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 1   only requirements are that an individual be born “in the United States” and “subject to the
 2   jurisdiction thereof.” The only individuals who are excluded under the “subject to the jurisdiction
 3   thereof” language are the extremely limited number of individuals who are in fact not subject to
 4   the jurisdiction of the United States at birth—the children of diplomats covered by diplomatic
 5   immunity or children born to enemy combatants engaged in war against the United States while
 6   on United States soil.2 Indeed, before the Fourteenth Amendment’s adoption, there was explicit
 7   legislative debate and clarity that the Citizenship Clause was meant to reach all persons born in
 8   the United States, with only the limited exceptions above. See Garrett Epps, The Citizenship
 9   Clause: A “Legislative History,” 60 Am. Univ. L. Rev. 331, 355-56 (2010) (detailing
10   congressional debate).
11            36.      The Supreme Court cemented this longstanding and established understanding of
12   the Citizenship Clause more than 125 years ago in United States v. Wong Kim Ark, 169 U.S. 649
13   (1898). There, the Supreme Court held that a child born in the United States to non-citizen
14   parents was entitled to automatic citizenship by birth under the Fourteenth Amendment. In so
15   holding, the Court explained:
16
              The fourteenth amendment affirms the ancient and fundamental rule of citizenship
17            by birth within the territory, in the allegiance and under the protection of the
              country, including all children here born of resident aliens, with the exceptions or
18            qualifications (as old as the rule itself) of children of foreign sovereigns or their
              ministers, or born on foreign public ships, or of enemies within and during a hostile
19            occupation of part of our territory, and with the single additional exception of
              children of members of the Indian tribes owing direct allegiance to their several
20
              tribes. The amendment, in clear words and in manifest intent, includes the children
21            born within the territory of the United States of all other persons, of whatever race
              or color. . . . To hold that the fourteenth amendment of the constitution excludes
22            from citizenship the children born in the United States of citizens or subjects of
              other countries, would be to deny citizenship to thousands of persons of English,
23

24            2
                 Despite the original understanding for purposes of the Fourteenth Amendment that children born to
25   Native American tribes with their own sovereign status are not subject to the United States’ jurisdiction at birth, it
     is well established under federal law that such children are granted U.S. citizenship at birth. See 8 U.S.C. § 1401(b)
     (1924) (declaring to be a national and citizen of the United States at birth “a person born in the United States to a
26   member of an Indian, Eskimo, Aleutian, or other aboriginal tribe.”).


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 1          Scotch, Irish, German, or other European parentage, who have always been
            considered and treated as citizens of the United States.
 2
     Id. at 693-94.
 3
            37.       In addition to Wong Kim Ark, the Supreme Court has separately made clear that
 4
     undocumented immigrants are “subject to the jurisdiction” of the United States. In Plyler v. Doe,
 5
     457 U.S. 202, 215 (1982), the Supreme Court interpreted the Fourteenth Amendment’s Equal
 6
     Protection Clause—the sentence immediately following the Citizenship Clause—and explained
 7
     that the term “within its jurisdiction” makes plain that “the Fourteenth Amendment extends to
 8
     anyone, citizen or stranger, who is subject to the laws of a State, and reaches into every corner
 9
     of a State’s territory.” The Court concluded:
10
            That a person’s initial entry into a State, or into the United States, was unlawful,
11          and that he may for that reason be expelled, cannot negate the simple fact of his
            presence within the State’s territorial perimeter. Given such presence, he is
12          subject to the full range of obligations imposed by the State’s civil and criminal
            laws.
13
     Id. As the Supreme Court explained, “no plausible distinction with respect to Fourteenth
14
     Amendment ‘jurisdiction’ can be drawn between resident aliens whose entry into the United
15
     States was lawful, and resident aliens whose entry was unlawful.” Id. at 211 n.10. The Supreme
16
     Court further confirmed that the phrases “within its jurisdiction” and “subject to the jurisdiction
17
     thereof” in the first and second sentences of the Fourteenth Amendment have the same meaning.
18
     Id.
19
            38.       The Executive Branch has accepted and endorsed this reading and understanding
20
     of the Citizenship Clause for more than a century. Indeed, in 1995, the U.S. Justice Department’s
21
     Office of Legal Counsel (OLC) provided a statement to Congress explaining why proposed
22
     legislation that would deny citizenship to certain children born in the United States based on
23
     their parents’ immigration or citizenship status would be “unconstitutional on its face” and
24
     “unquestionably unconstitutional.” 19 U.S. Op. Off. Legal Counsel 340, 1995 WL 1767990, at
25
     *1-2 (1995). The OLC’s statement and opinion recognize that “[t]hroughout this country’s
26


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 1   history, the fundamental legal principle governing citizenship has been that birth within the
 2   territorial limits of the United States confers United States citizenship.” Id. at *1. As OLC
 3   explained: “Congress and the States adopted the Fourteenth Amendment in order to place the
 4   right of citizenship based on birth within the jurisdiction of the United States beyond question.
 5   Any restriction on that right contradicts both the Fourteenth Amendment and the underlying
 6   principle that the amendment safeguards.” Id. (emphasis added). Indeed, the OLC statement and
 7   opinion explain that “children born in the United States of aliens are subject to the full
 8   jurisdiction of the United States,” and that “as consistently recognized by courts and the
 9   Attorneys General for over a century, most notably by the Supreme Court in United States v.
10   Wong Kim Ark, there is no question that they possess constitutional citizenship under the
11   Fourteenth Amendment.” Id. at *2.
12          39.       Congress likewise has reaffirmed through statute the Citizenship Clause’s
13   commandment regarding birthright citizenship. The Immigration and Nationality Act states:
14   “The following shall be nationals and citizens at birth: (a) a person born in the United States,
15   and subject to the jurisdiction thereof.” 8 U.S.C. § 1401(a). This language was originally enacted
16   in 1940, well after Wong Kim Ark, and taken directly from the Fourteenth Amendment.
17          40.       Federal and state agencies rely on this fundamental and longstanding
18   constitutional grant of birthright citizenship in implementing various federal programs. For
19   example, the U.S. State Department is granted the authority under federal law to issue U.S.
20   passports. 22 U.S.C. § 211a. As explained in the State Department’s Foreign Affairs Manual,
21   “[a]ll children born in and subject, at the time of birth, to the jurisdiction of the United States
22   acquire U.S. citizenship at birth even if their parents were in the United States illegally at the
23   time of birth.” 8 F.A.M. 301.1 (Acquisition by Birth in the United States).3 The U.S. State
24   Department’s Application for a U.S. Passport confirms that for “Applicants Born in the United
25

26          3
                Available at: https://fam.state.gov/FAM/08FAM/08FAM030101.html, attached as Ex. B.


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 1   States,” a U.S. birth certificate alone is sufficient to prove one’s citizenship.4 USCIS likewise
 2   confirms in public guidance that “[i]f you were born in the United States, you do not need to
 3   apply to USCIS for any evidence of citizenship. Your birth certificate issued where you were
 4   born is proof of your citizenship.”5
 5           41.     SSA also has long accepted that all children born in the United States are citizens.
 6   Under current public guidance, SSA states that “[t]he easiest way to get a Social Security number
 7   (SSN) for your newborn is to apply when you provide information for your baby’s birth
 8   certificate in the hospital.”6 With respect to citizenship, SSA explains that for children born in
 9   the United States, the child’s U.S. birth certificate is proof of U.S. citizenship.7
10           42.     SSA’s guidance is consistent with federal regulations, which establish that
11   “[g]enerally, an applicant for an original or replacement social security number card may prove
12   that he or she is a U.S. citizen by birth by submitting a birth certificate or other evidence . . . that
13   shows a U.S. place of birth.” 20 C.F.R. § 422.107(d). Indeed, for newborn babies, SSA utilizes
14   what is called “Enumeration at Birth.” Under that program, SSA enters into agreements with
15   states to streamline the process for obtaining SSNs. Where a parent requests an SSN as part of
16   an official birth registration process, the State vital statistics office electronically transmits the
17   request to SSA along with the child’s name, date and place of birth, sex, mother’s maiden name,
18   father’s name, address of the mother, and birth certificate number. That information alone is
19   used to establish the age, identity, and U.S. citizenship of the newborn child. 20 C.F.R.
20   § 422.103(c)(2). States receive payment from the federal government under this program for
21   each record transmitted to the SSA for purposes of issuing an SSN—approximately $4.19 per
22   SSN that is issued. Currently, Washington receives approximately $440,000 per year for
23   administering this process and transmitting birth data for newborn babies in Washington to SSA.
24
             4
25             Available at: https://eforms.state.gov/Forms/ds11_pdf.pdf, attached as Ex. C.
             5
               Available at: https://www.uscis.gov/sites/default/files/document/guides/A4en.pdf, attached as Ex. D.
             6
               Available at: https://www.ssa.gov/pubs/EN-05-10023.pdf, attached as Ex. E.
26           7
               Id. at 2-3.


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 1   Arizona, likewise, has received approximately $874,000 for FY 2024 and more than $935,000
 2   for FY 2025 through the Enumeration at Birth program, and is expected to receive more than $1
 3   million in FY 2026. Oregon received approximately $158,000 in 2023 and $129,000 through the
 4   first three quarters of 2024 through the program. Illinois likewise participates in this program
 5   and receives federal funds for each record transmitted.
 6          43.     State law also relies on the basic constitutional principle that a person born in the
 7   territorial United States is an American citizen. For example, Arizona has unique and
 8   complicated proof of citizenship requirements for voter registration. Birth certificates play an
 9   important role in this process. One of the documents that qualifies as “satisfactory evidence of
10   citizenship” for voter registration in Arizona is “the applicant’s birth certificate that verifies
11   citizenship to the satisfaction of the county recorder.” Ariz. Rev. Stat. § 16-166(F)(2). Another
12   document that qualifies as “satisfactory evidence of citizenship” for voter registration in Arizona
13   is a “driver license” number, if the driver license indicates that the applicant previously submitted
14   proof of citizenship to the Arizona Department of Transportation or equivalent agency of another
15   state. Ariz. Rev. Stat. § 16-166(F)(1). Applicants often use their birth certificate to meet this
16   requirement.
17          44.     If a U.S. birth certificate were to stop being sufficient for proof of citizenship,
18   voter registration in Arizona would become substantially more difficult and time-consuming.
19   This is because election officials in Arizona would face a dilemma each time a prospective voter
20   submits a birth certificate or driver license number. Under current registration procedures, the
21   assumption is that these kinds of documents prove U.S. citizenship, and nothing further is
22   required. Without this assumption, a new and more complex set of procedures would need to be
23   developed to try to identify which birth certificates, and driver license numbers qualify as proof
24   of U.S. citizenship.
25

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 1   B.       The President Acted Without Legal Authority in Purporting to Strip Individuals of
              Their U.S. Citizenship
 2
              45.      President Trump’s public statements make clear that he wishes to end birthright
 3
     citizenship purely as a policy tactic to purportedly deter immigration to the United States.
 4
     Despite a president’s broad powers to set immigration policy, the Citizenship Stripping Order
 5
     falls far outside the legal bounds of the president’s authority.
 6
              46.      During his most recent campaign for President, for example, then-candidate
 7
     Trump made clear that an Executive Order would issue “[o]n Day One” to “stop federal agencies
 8
     from granting automatic U.S. citizenship to the children of illegal aliens.”8 As he explained, the
 9
     goal is for this Executive Order to “eliminate a major incentive for illegal immigration,
10
     discourage future waves of illegal immigration to exploit this misapplication of citizenship, and
11
     encourage illegal aliens in the U.S. to return home.”9 He explained that the Executive Order
12
     would do this by instructing agencies not to issue passports, Social Security numbers, and
13
     otherwise have the federal government treat those children as non-citizens.
14
              47.      After the 2024 election, President-Elect Trump continued to state that birthright
15
     citizenship should be ended. In December 2024, for example, President-Elect Trump again
16
     promised an executive order “directing federal agencies to require a child to have at least one
17
     parent be either a U.S. citizen or legal permanent resident to automatically become a U.S.
18
     citizen.”10
19
              48.      The Citizenship Stripping Order is the promised Executive Order. It declares that
20
     U.S. citizenship “does not automatically extend to persons born in the United States” if (1) the
21
     individual’s mother is “unlawfully present in the United States” and the father “was not a citizen
22
     or lawful permanent resident at the time of said person’s birth”; or (2) the “person’s mother’s
23

24            8
                Available at: https://www.donaldjtrump.com/agenda47/agenda47-day-one-executive-order-ending-
25   citizenship-for-children-of-illegals-and-outlawing-birth-tourism, attached as Ex. F.
              9
                Id.
              10
                 Available at: https://www.wsj.com/politics/policy/trump-birthright-citizenship-executive-order-battle-
26   0900a291, attached as Ex. G.


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 1   presence in the United States at the time of said person’s birth was lawful but temporary . . . and
 2   the father was not a United States citizen or lawful permanent resident at the time of said person’s
 3   birth.” The Citizenship Stripping Order affects at least hundreds of thousands of newborns in the
 4   United States, including those who are born to two undocumented parents.
 5           49.     The Order states that, effective in 30 days, it is the “policy of the United States”
 6   that no department or agency of the federal government recognize as U.S. citizens persons within
 7   those categories. The Order directs the Secretary of State, the Attorney General, the Secretary of
 8   Homeland Security, and the Commissioner of Social Security to “take all appropriate measures
 9   to ensure that the regulations and policies of their respective departments and agencies are
10   consistent with this order[.]” The Order further directs that “the heads of all executive
11   departments and agencies shall issue public guidance within 30 days of the date of this order
12   regarding this order’s implementation with respect to their operations and activities.” This
13   includes Defendants USDA and HHS.
14           50.     The Constitution does not empower the President to set rules regarding
15   citizenship at birth.
16           51.     The Constitution does not empower the President to condition citizenship at birth
17   on the citizenship or immigration status of one’s parents.
18           52.     The Constitution does not empower the President to unilaterally amend the
19   Fourteenth Amendment.
20           53.     The Constitution does not empower the President to grant or deny citizenship to
21   individuals born in the United States.
22           54.     The Constitution and federal law confer automatic citizenship to individuals born
23   in the United States and subject to its jurisdiction. The Constitution removes control over the
24   grant of birthright citizenship from the category of legitimate policy options the President and
25   Congress may exercise to address immigration policy issues. As the Office of Legal Counsel
26   explained when discussing the unconstitutionality of such proposals: “In short, the text and


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 1   legislative history of the citizenship clause as well as consistent judicial interpretation make clear
 2   that the amendment’s purpose was to remove the right of citizenship by birth from transitory
 3   political pressures.” 19 U.S. Op. Off. Legal Counsel 340, 1995 WL 1767990, at *5.
 4   C.      United States Citizens Are Entitled to All Rights and Benefits of Citizenship as
             Defined by Law
 5
             55.     United States citizens are entitled to a broad array of rights and benefits as a result
 6
     of their citizenship. Withholding citizenship or stripping individuals of their citizenship will
 7
     result in an immediate and irreparable harm to those individuals and to the Plaintiff States.
 8
             56.     For example, natural born United States citizens are not subject to deportation
 9
     from the United States. Relatedly, they are entitled to obtain a U.S. passport and may travel
10
     abroad for an unlimited period of time and with unlimited frequency without risk of being denied
11
     re-entry to the United States. Such travel may be needed to visit family, receive healthcare, travel
12
     for work or pleasure, or for many other reasons.
13
             57.     Individuals over 18 years of age who are United States citizens are eligible to
14
     vote in federal, state, and local elections. U.S. Const. amend. XXVI; Wash. Const. art. VI, § 1;
15
     Ariz. Const. art. VII, § 2; Or. Const. art. II, § 2; Ill. Const. art III, § 1. The right to vote is a
16
     fundamental political right.
17
             58.     Individuals over 18 years of age who are United States citizens are eligible to
18
     serve on federal and state juries. 28 U.S.C. § 1865(b)(1); Wash. Rev. Code § 2.36.070; Ariz Rev.
19
     Stat. § 21-202(1); Or. Rev. Stat. Ann. § 10.030(2)(c); 705 ILCS 305/1(a).
20
             59.     Individuals who are United States citizens may petition for immigration status for
21
     family members including spouses, children, parents, and siblings. See 8 U.S.C.
22
     §§ 1151(b)(2)(A)(i), 1153(a).
23
             60.     Individuals who are natural born United States citizens are eligible for election to
24
     the offices of President and Vice President of the United States. U.S. Const. art. II, § 1; U.S.
25
     Const. amend. XXII.
26


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 1             61.   Individuals who are United States citizens are eligible for election to the United
 2   States House of Representatives and the United States Senate, and to certain state offices. U.S.
 3   Const. art I, §§ 2-3; Wash. Const. art. II, § 7, art. III, § 25; Ariz. Const. art. IV pt. 2 § 2, art. V §
 4   2; Or. Const. art. V, § 2, art. IV, § 8; Or. Rev. Stat. Ann. § 204.016(1); Ill. Const. art. V, § 3,
 5   art. 4.
 6             62.   Individuals who are United States citizens or nationals are eligible for
 7   appointment to competitive service federal jobs. Executive Order 11935 (Sept. 2, 1976); 5 C.F.R.
 8   § 7.3(b).
 9             63.   Depending on immigration or citizenship status, residents of Plaintiff States may
10   also be eligible to participate in a number of federal and state programs that ensure the health
11   and welfare of individuals, families, and communities. Those include programs administered by
12   the Plaintiff States and funded by federal and state dollars. These programs provide healthcare
13   coverage for newborns and children, foster care and custodial services for children in need, and
14   other forms of social and economic assistance to those in need.
15             64.   Longer term, a child stripped of birthright citizenship who remains
16   undocumented will face effects of a lack of legal status over their lifespan. While U.S. citizens
17   of sufficient age are authorized to work in the United States, only non-citizens granted particular
18   immigration statuses are or can be authorized to work. See 8 C.F.R. § 274a.12. A noncitizen who
19   is unlawfully present is ineligible for employment authorization, affecting their lifetime earning
20   potential and job opportunities. Undocumented individuals are not eligible for federal student
21   financial aid, affecting their educational opportunities. Research also shows that undocumented
22   individuals are more likely to report greater depression, social isolation, longer hospital stays,
23   and higher levels of stress.
24             65.   A person without legal immigration status is not generally eligible to be issued a
25   social security number. See 20 C.F.R. § 422.107. This creates cascading barriers to basic needs
26   and milestones, such as accessing traditional mortgages or banking services, as well as eligibility


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 1   for federal housing programs, among other things. Likewise, undocumented individuals are not
 2   eligible for a REAL ID Act compliant driver’s license or identification card, which will be
 3   required for all air travel, including domestic flights, as of May 7, 2025. See 49 U.S.C. § 30301.
 4   D.     Plaintiff States Will be Irreparably Injured by Defendants’ Citizenship Stripping
            Order
 5
            66.     The Plaintiff States will be immediately and irreparably injured by Defendants’
 6
     Citizenship Stripping Order separate and apart from the grievous harms its residents will suffer
 7
     as a result of the Order.
 8
            67.     As noted above, in Washington in 2022 alone, approximately 7,000 United States
 9
     citizen children were born to mothers who lacked legal status and approximately 4,000 United
10
     States citizen children were born to two parents who lacked legal status. This is a conservative
11
     estimate of the number of children affected by the Citizenship Stripping Order, and the full
12
     number of children affected will be greater.
13
            68.     In Arizona in 2022 alone, approximately 6,000 United States citizen children
14
     were born to mothers who lacked legal status and approximately 3,400 United States citizen
15
     children were born to two parents who were non-citizens and lacked legal status. This is a
16
     conservative estimate of the number of children affected by the Citizenship Stripping Order, and
17
     the full number of children affected will be greater.
18
            69.     In Illinois in 2022 alone, approximately 9,100 United States citizen children were
19
     born to mothers who lacked legal status and approximately 5,200 United States citizen children
20
     were born to two parents who were non-citizens and lacked legal status. This is a conservative
21
     estimate of the number of children affected by the Citizenship Stripping Order, and the full
22
     number of children affected will be greater.
23
            70.     In Oregon in 2022 alone, approximately 2,500 United States citizen children were
24
     born to mothers who lacked legal status and approximately 1,500 United States citizen children
25
     were born to two parents who were non-citizens and lacked legal status. This is a conservative
26


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 1   estimate of the number of children affected by the Citizenship Stripping Order, and the full
 2   number of children affected will be greater.
 3             71.   The Plaintiff States administer numerous programs for the benefit of their
 4   residents, including for newborns and young children, some of whom are wards of the Plaintiff
 5   States who are entitled to care by statute. Some of these programs are funded in part by federal
 6   dollars, with federal funding frequently tied to the citizenship and immigration status of the
 7   individuals served. As detailed below, stripping individuals of their citizenship and rendering
 8   them without a qualifying immigration status will render them ineligible to receive federally
 9   funded benefits, leaving them to rely on state-only funded benefits and services that the Plaintiff
10   States must provide, and causing direct, immediate, and measurable financial harm to Plaintiff
11   States.
12             72.   The Medicaid and CHIP health insurance programs were created by federal law
13   and are jointly funded by the federal and state governments. Medicaid provides health insurance
14   for individuals, including children, whose household incomes fall below certain eligibility
15   thresholds that vary slightly by state. CHIP is a program through which health insurance
16   coverage is provided for children whose household incomes exceed the eligibility thresholds for
17   Medicaid but fall below a separate threshold. The federal government pays states a percentage
18   of program expenditures for individuals enrolled in Medicaid and CHIP. This percentage varies
19   by program, state, covered population, and service, but generally ranges between 50 and 90
20   percent of the total expenditure.
21             73.   Only individuals who are U.S. citizens or have a qualifying immigration status
22   are eligible for Medicaid and CHIP except for certain emergency medical services that must be
23   provided and can be covered under Medicaid where the individual is otherwise qualified but for
24   their immigration or citizenship status. 8 U.S.C. § 1611(a), (c)(1)(B); 8 U.S.C. § 1612(b)(3)(C);
25   42 C.F.R. § 435.406. In all Plaintiff States, children who would be eligible for Medicaid or CHIP
26   but for the fact that they are not United States citizens or qualifying noncitizens are eligible for


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 1   certain health insurance or emergency services that are funded entirely by the State. The
 2   Citizenship Stripping Order will therefore result in newborn children who would otherwise be
 3   eligible for federally funded Medicaid or CHIP instead being enrolled in entirely state-funded
 4   health care programs or provided entirely state-funded healthcare services, transferring the cost
 5   for their health care to the States and causing a direct loss of federal funding. And for some
 6   Plaintiff States, those State-funded services may be underfunded or restricted to emergency care
 7   only, resulting in newborns and children not receiving regular or preventative care and ultimately
 8   leading to more expensive emergency care in the long term.
 9          74.     One example is Washington’s programs for ensuring healthcare coverage for its
10   most vulnerable residents. The Washington State Health Care Authority (HCA) is the designated
11   single state agency responsible for administering Washington’s Medicaid program and CHIP. In
12   Washington, Medicaid is called Apple Health. Coverage programs for children are provided
13   under the name Apple Health for Kids and serve all kids regardless of immigration status up to
14   317 percent of the Federal Poverty Limit (FPL). Between 215 and 317 percent of the FPL, for
15   children who are citizens or qualified and authorized immigrants, the funding for this coverage
16   comes through CHIP, and households pay a minimal premium for children’s coverage. Below
17   that range, for children who are citizens or qualified and authorized immigrants, funding for
18   coverage is provided through Medicaid. Under federal law, HCA must provide Medicaid and
19   CHIP coverage to citizens and qualified noncitizens whose citizenship or qualifying immigration
20   status is verified and who are otherwise eligible. For those children who would be eligible but
21   for their lack of citizenship or a qualifying immigration status, the State provides coverage
22   through what is called the Children’s Health Plan (CHP).
23          75.     As of December 2024, HCA administers federally-backed Medicaid and CHIP
24   funded coverage for more than 860,000 children in Washington. HCA estimates that coverage
25   on a per-child basis costs approximately $2,844 per year on average for physical health care
26   coverage alone. For this coverage, Washington expended approximately $2.37 billion with


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 1   approximately $1.3 billion coming from the federal government under Medicaid and CHIP. With
 2   respect to the division of funding in Washington, health coverage provided through CHIP
 3   generally receives a 65 percent federal match rate as opposed to Medicaid’s 50 percent federal
 4   match rate.
 5           76.     If deemed ineligible because they are no longer United States citizens, children
 6   enrolled in CHIP who do not meet the income eligibility guidelines for Medicaid would be left
 7   without health coverage unless Washington provides it using only state funding—even for
 8   emergency medical care that hospitals (including State-operated hospitals) are required by
 9   federal law to provide. See, e.g., 42 U.S.C. § 1395dd. The result would be that federal law would
10   require State-providers, like UW Medicine’s Harborview hospital, to provide emergency and
11   other care, but withhold federal contribution for that care at the normal CHIP rates. Washington
12   would provide coverage to these individuals using State-only funds, and therefore be required to
13   spend substantial funds it otherwise should receive from the federal government through the
14   CHIP program.
15           77.     The CHIP program also enables certain healthcare services to be provided to
16   children prior to birth in the form of prenatal care for their mother, regardless of the mother’s status.
17   Under CHIP, a child is defined as “an individual under age 19 including the period from conception
18   to birth.” 42 C.F.R. § 457.10. In Washington, children are eligible at conception for prenatal care
19   through CHIP. This prenatal care coverage is provided regardless of the immigration status of the
20   mother because the child is assumed to be a U.S. citizen. In State Fiscal Year 2025, Washington
21   expects to receive $161.5 million in federal CHIP funding to provide prenatal health care to children
22   born in Washington to mothers ineligible for Medicaid and CHIP.
23           78.     Certain children born whose health care would have been covered through
24   Medicaid or CHIP as U.S. citizens will become ineligible for those programs because they are
25   no longer deemed U.S. citizens or qualifying noncitizens under the Citizenship Stripping Order.
26   This poses an immediate risk to HCA’s federal funding stream used to provide healthcare


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 1   coverage to vulnerable Washington newborns and children. In state fiscal year 2022, for
 2   example, there were more than 4,000 children born to unauthorized and non-qualifying mothers
 3   whose labor and delivery was covered by Emergency Medicaid. Those children, by being born
 4   in the United States and deemed citizens, were eligible for federally-backed coverage. If this
 5   number of children became ineligible due to a loss of citizenship and moved to the State-funded
 6   CHP coverage, however, that will result in a loss of $6.9 million in federal reimbursements to
 7   Washington and a corresponding increase to State expenditures of the same amount, based on
 8   the current expenditures for the complete physical and behavioral health package of benefits.
 9          79.     In Arizona, in 2024 there were 4,519 births paid for by the Federal Emergency
10   Services Program (FES births). For each of these births, the parent’s household income fell under
11   133% of the Federal Poverty Level and the parent would have been eligible for Title XIX
12   (Medicaid) if they were U.S. citizens or “lawfully residing.” However, because these children
13   were born in the United States, the children were eligible for Medicaid and qualified for
14   Arizona’s Medicaid program, the Arizona Health Care Cost Containment System (AHCCCS),
15   but they would not be eligible if birthright citizenship were removed. If each of these children
16   became ineligible for AHCCCS until 18, using FFY2026 figures for FMAP of 64.34% (federal
17   match) and capitation rates, then this would likely cost the State $39,400 in federal revenue per
18   child used to pay $61,300 in total capitation payments over the first 18 years of that child’s life.
19          80.     In addition, based on current data, AHCCCS estimates that approximately 3,126
20   births each year are for children whose family income are low enough to make them eligible for
21   Title XXI (KidsCare) under birthright citizenship, but who would not be eligible if birthright
22   citizenship were removed. And given the scope of the Executive Order, the number of children
23   affected will likely be higher.
24          81.     Removing birthright citizenship from the above 7,645 (4,519 + 3,126) children
25   would reduce federal revenues to Arizona by $321,844,600 used to pay $468,638,500 in total
26   capitation payments over the first 18 years of the children’s lives. This amount is only for the


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 1   first “cohort” of children and only through their first 18 years of life. Each year additional
 2   children would be born, adding to the lost revenue.
 3          82.     In Illinois, the Department of Healthcare and Family Services (HFS) is
 4   responsible for administering Illinois’s Medicaid program and CHIP. HFS currently administers
 5   federally-backed Medicaid and CHIP funded coverage for over 1 million children in Illinois.
 6   Some of those children—children whose health care would have been covered through Medicaid
 7   or CHIP as U.S. citizens—will become ineligible for those programs because they are no longer
 8   deemed U.S. citizens or qualifying noncitizens under the Citizenship Stripping Order. That
 9   threatens the federal funds that HFS uses to provide healthcare coverage to vulnerable Illinois
10   newborns and children and risks transferring the cost for their health care to Illinois.
11          83.     Similarly, Plaintiff States’ child welfare systems are funded in part through an
12   annual appropriation based on an open-ended formula grant entitlement operated by the U.S.
13   Department of Health and Human Services Federal Foster Care Program, known as “Title IV-
14   E.” For example, in Federal Fiscal Year 2024, Washington received approximately $219 million
15   in federal Title IV-E funding.
16          84.     The Title IV-E grant amount is awarded to partially reimburse the States’
17   expenditures on allowable uses of funds for the direct costs of supporting eligible children in
18   foster care. The States receive no Title IV-E funding for the costs to care for foster children who
19   do not meet Title IV-E eligibility. Children who are neither citizens nor qualifying noncitizens,
20   which will include children who would be natural-born U.S. citizens but for the Citizenship
21   Stripping Order, are not covered by Title IV-E. 8 U.S.C. §§ 1611(a), (c)(1)(A).
22          85.     Plaintiff States also receive federal funding under Title IV-E for certain program
23   administrative costs based in part on the number of children eligible for Title IV-E. Washington’s
24   Department of Children, Youth, and Families (DCYF) receives reimbursements for foster care
25   maintenance, adoption support, guardianship support, and associated legal, administrative, and
26   training costs. Therefore, any decrease in the number of foster children who are Title IV-E


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 1   eligible will reduce federal funding to States for foster care and related programs. As a result of
 2   the Citizenship Stripping Order, fewer children will be eligible for welfare and support services
 3   and Plaintiff States will suffer a negative financial impact to their child welfare programs.
 4           86.     Washington’s DCYF foster care services provide support for children and
 5   families when they may be most vulnerable and ensures that children have the tools they need
 6   to succeed. In Washington, those services will often be provided for a long period of time—the
 7   median length of stay for a child in out-of-home care is nearly two years. If that child is ineligible
 8   for Title IV-E because they are not a citizen, DCYF cannot receive federal reimbursements for
 9   any of the services they provide to that child. And any decrease in Title IV-E funding means that
10   DCYF will have fewer resources to help all of the children it serves, including children whose
11   citizenship status is unaffected by the Citizenship Stripping Order.
12           87.     Arizona’s Department of Child Services (DCS) also relies on Title IV-E funding
13   and operates on a limited budget appropriated by the State Legislature. The Citizenship Stripping
14   Order will cause DCS to lose material amounts of federal funding that it would use for foster
15   care maintenance payments for those children, as well as reimbursement for administrative
16   expenses associated with their care.
17           88.     Illinois Department of Child and Family Services (DCFS) also relies on Title IV-
18   E funding. The guaranteed reduction in Title IV-E funding—as well as other federal
19   reimbursements—that will result from the Citizenship Stripping Order will have a meaningful
20   effect and strain on DCFS’s ability to fulfill its statutory mandate to provide care to the wards in
21   its custody.
22           89.     The loss of federal funding and reimbursement will have other significant and
23   negative ripple effects on the Plaintiff States. For example, in Arizona, DCS prioritizes kinship
24   placements for the children within its custody. In kinship placements, children are placed in the
25   homes of relatives or individuals with a significant relationship to the children. Placements with
26   relatives and kin provides children with more stability by maintaining connections to


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 1   neighborhood, community, faith, family, tribe, school and friends. A family’s willingness and
 2   ability to accept a kinship placement is often dependent on the family’s ability to receive
 3   financial and resource assistance from DCS. If fewer children are considered U.S. citizens and
 4   therefore are ineligible for these vouchers and resources, DCS will not be able to provide the
 5   same assistance to support relative and kinship placements, and the number of these placements
 6   will decrease. That will harm these already-vulnerable children. It will also increase costs for
 7   DCS, which will have to place those same children in group homes, which are significantly more
 8   expensive.
 9          90.     Because the benefit is to the child, not the caregiver, an increase of children
10   without legal status in DCS care will also impact community foster homes. Community foster
11   homes may not be willing to take placement of a child if they are not able to receive benefits like
12   child care assistance. Many community foster caregivers work outside of the home and rely on
13   child care assistance to pay for care while they work.
14          91.     Plaintiff States will also suffer a direct and immediate loss of federal
15   reimbursements that they receive for every SSN that is assigned to a child born in their state
16   through the Enumerated at Birth (EAB) program. Pursuant to this program, Plaintiff States are
17   under contract with the SSA to collect and transmit to the SSA certain birth information on behalf
18   of parents who wish to obtain an SSN for their newborn child. For their services under this
19   program, the States receive a payment from SSA of approximately $4.19 per assigned SSN.
20   These funds are used to support general administrative expenses for state agencies beyond the
21   cost of transmitting SSN applications to SSA.
22          92.     As noted above, each year, the Citizenship Stripping Order is likely to impact—
23   at a bare minimum—at least 4,000 children born in Washington; 3,400 children born in Arizona;
24   5,200 children born in Illinois; and 1,500 children born in Oregon. Those children will therefore
25   be ineligible for SSNs, which in turn will cause the Plaintiff States to suffer an immediate
26   decrease in the number of SSNs assigned and payments received through the EAB program. For


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 1   example, withholding issuance of approximately 4,000 SSNs through the EAB process will
 2   cause Washington to lose approximately $16,000 per year at a minimum, because of the
 3   Citizenship Stripping Order’s direction to SSA to stop issuing SSNs to these children.
 4   Withholding issuance of approximately 3,400 SSNs through the EAB process will cause Arizona
 5   to lose approximately $14,000 per year at a minimum, because of the Citizenship Stripping
 6   Order’s direction to SSA to stop issuing SSNs to certain children. Withholding issuance of
 7   approximately 5,200 SSNs through the EAB process will cause Illinois to lose approximately
 8   $21,000 per year at a minimum. And withholding issuance of approximately 1,500 SSNs through
 9   the EAB process will cause Oregon to lose approximately $6,200 per year at a minimum, because
10   of the Citizenship Stripping Order’s direction to SSA to stop issuing SSNs to certain children.
11          93.     As noted above, the Citizenship Stripping Order will also harm Arizona’s ability
12   to implement its voter registration laws aimed at ensuring that only citizens register to vote.
13          94.     The Citizenship Stripping Order will immediately begin to upend administrative
14   and operational processes within the Plaintiff States. States must immediately alter their systems
15   for verifying which children they serve are eligible for federal reimbursement programs like
16   Medicaid, CHIP, and Title IV-E; operationalize those altered systems; and plan for the fiscal
17   impact of losing substantial federal funding that the Plaintiff States rely on receiving to support
18   a range of programs.
19          95.     In Washington, for example, agencies rely on birthright citizenship in their
20   internal processes to determine eligibility for federal programs. This includes Washington’s
21   HCA, which administers Washington’s Medicaid and CHIP programs. The Citizenship Stripping
22   Order will require HCA to develop updated training and guidance for staff, partners, and health
23   care providers across Washington about which children are citizens and therefore eligible for
24   Medicaid and CHIP. HCA anticipates this will take at least seven to eight full-time employees
25   around two to three years to make these changes. These updates may then require training for up
26   to 2,000 staff, on top of coordination with external community partners. Similarly, the


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 1   Citizenship Stripping Order requires health care providers like UW Medicine to immediately
 2   update their understanding of how to assess coverage to assist patients and parents in
 3   understanding and navigating applications for coverage, when those parents may have a due date
 4   in just a few weeks.
 5          96.     Washington’s DCYF likewise relies on birthright citizenship to determine which
 6   services it may receive reimbursement for. Federal law requires DCYF to verify citizenship
 7   status of children it serves as a part of determining Title IV-E eligibility. Currently, the primary
 8   method of citizenship verification is through birth certificates issued by other state agencies.
 9   DCYF relies on those birth certificates to determine whether children are eligible for Title IV-
10   E, and DCYF’s services for children may begin as soon as they are born. The Citizenship
11   Stripping Order requires DCYF to amend its processes, trainings, and materials to make any
12   Title IV-E eligibility determinations. That will take staff time that would have been spent on
13   other projects to better serve children and families in Washington.
14          97.     Washington’s DOH also faces uncertainty and substantial administrative burdens
15   under the Citizenship Stripping Order. DOH cannot modify State’s newborn registration process
16   immediately. Instead, doing so will require substantial operational time, manpower resources,
17   and technological resources from DOH and healthcare facilities in Washington. Indeed, because
18   more than 80,000 babies are born every year in Washington, DOH anticipates that any required
19   updates to the birth registration process or birth certificates in Washington will impose serious
20   burdens on DOH that it is not currently equipped to handle, as DOH has no way of determining
21   the immigration status or citizenship of every newborn (or their parents).
22          98.     Similarly, in Arizona, the State’s Medicaid program, AHCCCS, is jointly funded
23   by the federal and state governments for individuals and families who qualify based on income
24   level. AHCCCS does not currently rely on a Social Security Number or parental immigration
25   status to determine eligibility. Newborns are automatically approved for benefits through an
26   automated process when a mother living in Arizona on AHCCCS gives birth. Citizenship is


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 1   considered automatically verified if the child’s birth is verified through this method since they
 2   are born in the United States. If this methodology no longer applied, AHCCCS would need to
 3   update its eligibility policy and update three systems it uses: HEAPlus, PMMIS and AHCCCS
 4   Online. This would take approximately 12 months to implement the change. Based on the
 5   complexity of the potential update, the expense to change HEAplus would be approximately $1
 6   million to $2.5 million and would take about 12 months to develop. In addition, it would cost
 7   $1.3-1.9 million to update PMMIS and AHCCCS Online.
 8          99.     The Illinois Department of Public Health (IDPH) will also face substantive
 9   administrative burdens under the Citizenship Stripping Order in order to modify its newborn
10   registration process immediately. IDPH would need to create systems for state-run healthcare
11   facilities to use to verify parents’ immigration statuses for purposes of issuing birth certificates
12   and applying for a newborn’s SSN. This would require training and hiring of staff and would
13   potentially cause delays in the registration and issuance of a newborn’s birth certificate.
14          100.    In Oregon, the sudden need to collect proof of citizenship information from
15   parents at the birth of a child will cause the state to incur the expense of training its employees
16   and staff at Oregon hospitals on new protocols.
17          101.    In sum, the Citizenship Stripping Order, if allowed to stand, will work direct and
18   substantial injuries to Washington, Arizona, Illinois, and Oregon, in addition to their residents.
19                               V.     FIRST CAUSE OF ACTION
                             (Fourteenth Amendment – Citizenship Clause)
20
            102.    Plaintiff States reallege and incorporate by reference the allegations set forth in
21
     each of the preceding paragraphs.
22
            103.    The Fourteenth Amendment declares: “All persons born or naturalized in the
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     United States and subject to the jurisdiction thereof, are citizens of the United States and of the
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     State wherein they reside.”
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 1           104.    Section 2 of the Citizenship Stripping Order states that Defendants will not
 2   recognize United States citizenship of children when (1) the individual’s mother is “unlawfully
 3   present in the United States” and the father “was not a citizen or lawful permanent resident at
 4   the time of said person’s birth”; or (2) the “person’s mother’s presence in the United States at
 5   the time of said person’s birth was lawful but temporary . . . and the father was not a United
 6   States citizen or lawful permanent resident at the time of said person’s birth.”
 7           105.    Section 3 of the Citizenship Stripping Order requires Defendants to “take all
 8   appropriate measures to ensure” that Defendant agencies do not recognize the citizenship of
 9   certain United States citizens.
10           106.    The Citizenship Stripping Order expressly violates the Fourteenth Amendment’s
11   guarantee of birthright citizenship to all individuals born in the United States and subject to the
12   jurisdiction thereof.
13           107.    The President has no authority to override or ignore the Fourteenth Amendment’s
14   Citizenship Clause or otherwise amend the Constitution, and therefore lacks authority to strip
15   individuals of their right to citizenship.
16           108.    The Citizenship Stripping Order will cause harm to Washington, Arizona,
17   Illinois, Oregon, and the residents of each Plaintiff State.
18                               VI.     SECOND CAUSE OF ACTION
                             (Immigration and Nationality Act – 8 U.S.C. § 1401)
19
             109.    Plaintiff States reallege and incorporate by reference the allegations set forth in
20
     each of the preceding paragraphs.
21
             110.    Section 1401 of the Immigration and Nationality Act states that “a person born in
22
     the United States, and subject to the jurisdiction thereof” “shall be [a] national[] and citizen[] of
23
     the United States at birth.” 8 U.S.C. § 1401(a).
24
             111.    Section 2 of the Citizenship Stripping Order states that Defendants will not
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     recognize United States citizenship of children when (1) the individual’s mother is “unlawfully
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 1   present in the United States” and the father “was not a citizen or lawful permanent resident at
 2   the time of said person’s birth”; or (2) the “person’s mother’s presence in the United States at
 3   the time of said person’s birth was lawful but temporary . . . and the father was not a United
 4   States citizen or lawful permanent resident at the time of said person’s birth.”
 5          112.     Section 3 of the Citizenship Stripping Order requires Defendants to “take all
 6   appropriate measures to ensure” that Defendant agencies do not recognize the citizenship of
 7   certain United States citizens.
 8          113.     The Citizenship Stripping Order expressly violates Section 1401’s guarantee of
 9   birthright citizenship to all individuals born in the United States and subject to the jurisdiction
10   thereof.
11          114.     The President has no authority to override Section 1401’s statutory guarantee of
12   citizenship, and therefore lacks any authority to unilaterally strip individuals of their right to
13   citizenship.
14          115.     The Citizenship Stripping Order will cause harm to Washington, Arizona,
15   Illinois, Oregon, and the residents of each Plaintiff State.
16                                     VII.    PRAYER FOR RELIEF
17          WHEREFORE, Plaintiff States pray that the Court:
18          a.       Declare that the Citizenship Stripping Order is contrary to the Constitution and
19   laws of the United States;
20          b.       Temporarily restrain and enjoin Defendants from implementing or enforcing the
21   Citizenship Stripping Order, pending further orders from this Court;
22          c.       Pursuant to Federal Rule of Civil Procedure 65(b)(2), set an expedited hearing
23   within fourteen (14) days to determine whether the Temporary Restraining Order should be
24   extended; and
25          d.       Award such additional relief as the interests of justice may require.
26


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                                UNCLASSIFIED (U)



                     8 FAM 300
               U.S. CITIZENSHIP AND
                    NATIONALITY

                           8 FAM 301
                       U.S. CITIZENSHIP

                              8 FAM 301.1
   ACQUISITION BY BIRTH IN THE UNITED
                STATES
                           (CT:CITZ-50; 01-21-2021)
                          (Office of Origin: CA/PPT/S/A)


8 FAM 301.1-1 INTRODUCTION
(CT:CITZ-50;    01-21-2021)
a. U.S. citizenship may be acquired either at birth or through naturalization
   subsequent to birth. U.S. laws governing the acquisition of citizenship at birth
   embody two legal principles:
   (1) Jus soli (the law of the soil) - a rule of common law under which the place
       of a person’s birth determines citizenship. In addition to common law,
       this principle is embodied in the 14th Amendment to the U.S. Constitution
       and the various U.S. citizenship and nationality statutes; and
   (2) Jus sanguinis (the law of the bloodline) - a concept of Roman or civil law
       under which a person’s citizenship is determined by the citizenship of one
       or both parents. This rule, frequently called “citizenship by descent” or
       “derivative citizenship”, is not embodied in the U.S. Constitution, but such
       citizenship is granted through statute. As U.S. laws have changed, the
       requirements for conferring and retaining derivative citizenship have also
       changed.
b. National vs. citizen: While most people and countries use the terms
   “citizenship” and “nationality” interchangeably, U.S. law differentiates between
   the two. Under current law all U.S. citizens are also U.S. nationals, but not all
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   U.S. nationals are U.S. citizens. The term “national of the United States”, as
   defined by statute (INA 101 (a)(22) (8 U.S.C. 1101(a)(22)) includes all
   citizens of the United States, and other persons who owe allegiance to the
   United States but who have not been granted the privilege of citizenship:
   (1) Nationals of the United States who are not citizens owe allegiance to the
       United States and are entitled to the consular protection of the United
       States when abroad, and to U.S. documentation, such as U.S. passports
       with appropriate endorsements. They are not entitled to voting
       representation in Congress and, under most state laws, are not entitled to
       vote in Federal, State, or local elections except in their place of birth.
       (See 7 FAM 012 and 7 FAM 1300 Appendix B Endorsement 09.);
   (2) Historically, Congress, through statutes, granted U.S. non-citizen
       nationality to persons born or inhabiting territory acquired by the United
       States through conquest or treaty. At one time or other natives and
       certain other residents of Puerto Rico, the U.S. Virgin Islands, the
       Philippines, Guam, and the Panama Canal Zone were U.S. non-citizen
       nationals. (See 7 FAM 1120 and 7 FAM 1100 Appendix P.);
   (3) Under current law, only persons born in American Samoa and Swains
       Island are U.S. non-citizen nationals (INA 101(a)(29) (8 U.S.C. 1101(a)
       (29) and INA 308(1) (8 U.S.C. 1408)). (See 7 FAM 1125.); and
   (4) See 7 FAM 1126 regarding the citizenship/nationality status of persons
       born on the Commonwealth of the Northern Mariana Islands (CNMI).
c. Naturalization – Acquisition of U.S. Citizenship Subsequent to Birth:
   Naturalization is “the conferring of nationality of a State upon a person after
   birth, by any means whatsoever” (INA 101(a)(23) (8 U.S.C. 1101(a)(23)) or
   conferring of citizenship upon a person (see INA 310, 8 U.S.C. 1421 and INA
   311, 8 U.S.C. 1422). Naturalization can be granted automatically or pursuant
   to an application. (See 7 FAM 1140.)
d. “Subject to the Jurisdiction of the United States”: All children born in and
   subject, at the time of birth, to the jurisdiction of the United States acquire
   U.S. citizenship at birth even if their parents were in the United States illegally
   at the time of birth:
   (1) The U.S. Supreme Court examined at length the theories and legal
       precedents on which the U.S. citizenship laws are based in U.S. v. Wong
       Kim Ark, 169 U.S. 649 (1898). In particular, the Court discussed the
       types of persons who are subject to U.S. jurisdiction. The Court affirmed
       that a child born in the United States to Chinese parents acquired U.S.
       citizenship even though the parents were, at the time, racially ineligible
       for naturalization;
   (2) The Court also concluded that: “The 14th Amendment affirms the ancient
       and fundamental rule of citizenship by birth within the territory, in the
       allegiance and under the protection of the country, including children here
       born of resident aliens, with the exceptions or qualifications (as old as the
       rule itself) of children of foreign sovereigns or their ministers, or born on
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       foreign public ships, or of enemies within and during a hostile occupation
       of part of our territory, and with the single additional exception of children
       of members of the Indian tribes owing direct allegiance to their several
       tribes. The Amendment, in clear words and in manifest intent, includes
       the children born within the territory of the United States, of all other
       persons, of whatever race or color, domiciled within the United States.”
       Pursuant to this ruling:
       (a) Acquisition of U.S. citizenship generally is not affected by the fact
           that the parents may be in the United States temporarily or illegally;
           and that; and
       (b) A child born in an immigration detention center physically located in
           the United States is considered to have been born in the United
           States and be subject to its jurisdiction. This is so even if the child’s
           parents have not been legally admitted to the United States and, for
           immigration purposes, may be viewed as not being in the United
           States.


8 FAM 301.1-2 WHAT IS BIRTH “IN THE UNITED
STATES”?
(CT:CITZ-45;   12-09-2020)
a. INA 101(a)(38) (8 U.S.C. 1101 (a)(38)) provides that “the term ‘United
   States,’ when used in a geographical sense, means the continental United
   States, Alaska, Hawaii, Puerto Rico, Guam, and the Virgin Islands of the
   United States.”
b. On November 3, 1986, Public Law 94-241, “approving the Covenant to
   Establish a Commonwealth of the Northern Mariana Islands in Political Union
   with the United States of America”, (Section 506(c)),took effect. From that
   point on, the Northern Mariana Islands have been treated as part of the
   United States for the purposes of INA 301 (8 U.S.C. 1401) and INA 308 (8
   U.S.C. 1408) (see 8 FAM 302.1)
c. The Nationality Act of 1940 (NA), Section 101(d) (54 Statutes at Large 1172)
   (effective January 13, 1941 until December 23, 1952) provided that “the term
   ‘United States’ when used in a geographical sense means the continental
   United States, Alaska, Hawaii, Puerto Rico, and the Virgin Islands of the
   United States.” The 1940 Act did not include Guam or the Northern Mariana
   Islands as coming within the definition of “United States.”

   See the text of the 1940 Act on the Intranet, Acquisition of Citizenship,
   Legal and Regulatory Documents.

d. Prior to January 13, 1941, there was no statutory definition of “the United
   States” for citizenship purposes. The phrase “in the United States” as used in
   Section 1993 of the Revised Statues of 1878 clearly includes states that have
   been admitted to the Union (see 8 FAM 102.2).
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e. INA 304 (8 U.S.C. 1404) and INA 305 (8 U.S.C. 1405) provide a basis for
   citizenship of persons born in Alaska and Hawaii, respectively, while they were
   territories of the United States.


8 FAM 301.1-3 NOT INCLUDED IN THE
MEANING OF "IN THE UNITED STATES"
(CT:CITZ-1;   06-27-2018)
a. Birth on U.S. Registered Vessel On High Seas or in the Exclusive Economic
   Zone: A U.S.-registered or documented ship on the high seas or in the
   exclusive economic zone is not considered to be part of the United States.
   Under the law of the sea, an Exclusive Economic Zone (EEZ) is a maritime
   zone over which a State has special rights over the exploration and use of
   natural resources. The EEZ extends up to 200 nautical miles from the coastal
   baseline. A child born on such a vessel does not acquire U.S. citizenship by
   reason of the place of birth (Lam Mow v. Nagle, 24 F.2d 316 (9th Cir., 1928)).

     NOTE: This concept of allotting nations EEZs to give better control of
     maritime affairs outside territorial limits gained acceptance in the late 20th
     century and was given binding international recognition by the United
     Nations Convention on the Law of the Sea (UNCLOS) in 1982.
     Part V, Article 55 of the Convention states:
     Specific legal regime of the EEZ:
     The EEZ is an area beyond and adjacent to the territorial sea, subject to
     the specific legal regime established in this Part, under which the rights
     and jurisdiction of the coastal State and the rights and freedoms of other
     States are governed by the relevant provisions of this convention.

b. A U.S.-registered aircraft outside U.S. airspace is not considered to be part of
   U.S. territory. A child born on such an aircraft outside U.S. airspace does not
   acquire U.S. citizenship by reason of the place of birth.

     NOTE: The United States of America is not a party to the U.N. Convention
     on Reduction of Statelessness (1961). Article 3 of the Convention does
     not apply to the United States. Article 3 provides
           “For the purpose of determining the obligations of Contracting States under
           this Convention, birth on a ship or in an aircraft shall be deemed to have taken
           place in the territory of the State whose flag the ship flies or in the territory of
           the State in which the aircraft is registered, as the case may be.”

     This is a frequently asked question.

c. Birth on U.S. military base outside of the United States or birth on U.S.
   embassy or consulate premises abroad:
   (1) Despite widespread popular belief, U.S. military installations abroad and
       U.S. diplomatic or consular facilities abroad are not part of the United
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       States within the meaning of the 14th Amendment. A child born on the
       premises of such a facility is not born in the United States and does not
       acquire U.S. citizenship by reason of birth;
   (2) The status of diplomatic and consular premises arises from the rules of
       law relating to immunity from the prescriptive and enforcement
       jurisdiction of the receiving State; the premises are not part of the
       territory of the United States of America. (See Restatement (Third) of
       Foreign Relations Law, Vol. 1, Sec. 466, Comment a and c (1987). See
       also, Persinger v. Iran, 729 F.2d 835 (D.C. Cir. 1984).
d. Birth on foreign ships in foreign government non-commercial service:
   (1) A child born on a foreign merchant ship or privately owned vessel in U.S.
       internal waters is considered as having been born subject to the
       jurisdiction of the United States. (See U.S. v. Wong Kim Ark.); and
   (2) Foreign warships, naval auxiliaries, and other vessels or aircraft owned or
       operated by a State and used for governmental non-commercial service
       are not subject to jurisdiction of the United States. Persons born on such
       vessels while in U.S. internal waters (or, of course, anywhere else) do not
       acquire U.S. citizenship by virtue of place of birth.
e. Alien enemies during hostile occupation:
   (1) If part of the United States were occupied by foreign armed forces against
       the wishes of the United States, children born to enemy aliens in the
       occupied areas would not be subject to U.S. jurisdiction and would not
       acquire U.S. citizenship at birth; and
   (2) Children born to persons other than enemy aliens in an area temporarily
       occupied by hostile forces would acquire U.S. citizenship at birth because
       sovereignty would not have been transferred to the other country. (See
       U.S. v. Wong Kim Ark.)


8 FAM 301.1-4 BIRTH IN U.S. INTERNAL
WATERS AND TERRITORIAL SEA
(CT:CITZ-50;   01-21-2021)
a. Persons born on ships located within U.S. internal waters (except as provided
   in 8 FAM 301.1-3) are considered to have been born in the United States.
   Such persons will acquire U.S. citizenship at birth if they are subject to the
   jurisdiction of the United States. Internal waters include the ports, harbors,
   bays, and other enclosed areas of the sea along the U.S. coast. As noted
   above, a child born on a foreign merchant ship or privately owned vessel in
   U.S. internal waters is considered as having been born subject to the
   jurisdiction of the United States. (See U.S. v. Wong Kim Ark.)
b. Twelve Nautical Mile Limit: The territorial sea of the United States was
   formerly three nautical miles. (See, e.g., Cunard S.S. Co. v Mellon, 262 U.S.
   100, 122, 43 S. Ct. 504, 67 L. Ed. 894 (1923).) However, the three-mile rule
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   was changed by a Presidential Proclamation in 1988, implementing the
   territorial-sea provision of the 1982 U.N. Convention on the Law of the Sea.
   (Presidential Proclamation 5928, signed December 27, 1988, published at 54
   Federal Register 777, January 9, 1989.) As decreed by that Proclamation, the
   territorial sea of the United States henceforth extends to 12 nautical miles
   from the baselines of the United States determined in accordance with
   international law. (The Proclamation also stated that the jurisdiction of the
   United States extends to the airspace over the territorial sea.) (See Gordon,
   Immigration Law and Procedure, Part 8 Nationality and Citizenship, 92.03(2)
   (b) territorial limits.)
c. FAM guidance up until 1995 (7 FAM 1116.1-2 In U.S. Waters TL:CON-64; 11-
   30-95) advised that persons born within the 3-mile limit of the U.S. territorial
   sea were born “within the United States” and could be documented as U.S.
   citizens if they were also born subject to U.S. jurisdiction. Some
   commentators took this view as well, such as Gordon. Analysis of this issue
   undertaken in 1994-1995 revealed, however, that there is a substantial legal
   question whether persons born outside the internal waters of the United
   States but within the territorial sea are in fact born “within the United States”
   for purposes of the 14th Amendment and the INA.
d. Cases involving persons born outside the internal waters but within the U.S.
   territorial sea, must be referred to AskPPTAdjudication@state.gov for
   coordination with L/CA, L/OES, and other appropriate offices within the United
   States government.
NOTE: This is not a public-facing e-mail address and public inquiries will not
be replied to.


8 FAM 301.1-5 WHAT IS BIRTH IN U.S.
AIRSPACE?
(CT:CITZ-45;    12-09-2020)
a. Under international law, the limits of a country's sovereign airspace correspond
   with the extent of its territorial sea. The outer limit of the territorial sea of the
   United States is 12 nautical miles from the coastline. Airspace above the land
   territory, internal waters, and territorial sea is considered to be part of the
   United States (Presidential Proclamation 5928, signed December 27, 1988,
   published at 54 Federal Register 777, January 9, 1989).
b. Comments on the applicability of the 14th Amendment to vessels and planes,
   are found in Gordon, Immigration Law and Procedure, Part 8, Nationality and
   Citizenship, Chapter 92, 92.03 (New York: Matthew Bender, 2007). This
   volume states:
     “The rules applicable to vessels obviously apply equally to airplanes. Thus
     a child born on a plane in the United States or flying over its territory
     would acquire United States citizenship at birth.”
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c. Under the 1944 Convention on International Civil Aviation, articles 17–21, all
   aircraft have the nationality of the State in which they are registered, and may
   not have multiple nationalities. For births, the nationality law of the aircraft's
   “nationality” may be applicable, and for births that occur in flight while the
   aircraft is not within the territory or airspace of any State, it is the only
   applicable law that may be pertinent regarding acquisition of citizenship by
   place of birth. However, if the aircraft is in, or flying over the territory of
   another State, that State may also have concurrent jurisdiction.
d. Cases of citizenship of persons born on planes in airspace above the United
   States land territory or internal waters may be adjudicated by passport
   specialists at domestic passport agencies and centers or consular officers at
   posts abroad in accordance with 8 FAM 301.1-6.
e. Cases of persons born on planes in airspace outside the 12 nautical mile limit
   would be adjudicated as a birth abroad under INA 301 (8 U.S.C. 1401) or INA
   309 (8 U.S.C. 1409) as made applicable by INA 301(g).
f. Cases of persons born on a plane in airspace above the U.S. territorial sea (12
   nautical mile limit) must be referred to AskPPTAdjudication@state.gov for
   consultation with L/CA.


8 FAM 301.1-6 DOCUMENTING BIRTH IN U.S.
WATERS AND U.S. AIRSPACE
(CT:CITZ-1;    06-27-2018)
a. Proof of birth in U.S. internal waters or U.S. airspace consists of a U.S. birth
   certificate certified by the issuing authority in the U.S. jurisdiction.
b. There is no U.S. Federal law governing the report of such births.
c. Generally speaking, U.S. Customs and Border Protection (CBP) would require
   some documentation of the birth, generally an excerpt of the ship’s/aircraft’s
   medical log or master/captain’s log, reflecting the time, latitude, and longitude
   when the birth occurred.
d. For ships/aircraft in-bound for the United States, the parents would then be
   responsible for reporting the birth to the civil authorities in the U.S.
   jurisdiction where the vessel put into port. (See the Centers for Disease
   Control and Prevention (CDC) publication “Where to Write for Birth
   Certificates.”)
   (1) The parents will have to contact the state vital records office to determine
       the exact procedures for report such a birth;
   (2) Parents should obtain a certified copy of the ship’s medical log, airplane’s
       log, or other statement from the attending physician or other attendant
       and attempt to obtain information on how to contact attendants in the
       future should further questions arise;
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   (3) If the mother and child were immediately taken to a U.S. hospital,
       authorities there may be of assistance in facilitating contact with the
       appropriate state authorities; and
   (4) It is unlikely that the vital records office in the parents’ state of residence
       will issue such a birth certificate. Parents may be redirected to the vital
       records office in the state where the ship first put into port after the birth
       of the child.


8 FAM 301.1-7 NATIVE AMERICANS AND
ESKIMOS
(CT:CITZ-1;    06-27-2018)
a. Before U.S. v. Wong Kim Ark, the only occasion on which the Supreme Court
   had considered the meaning of the 14th Amendment’s phrase “subject to the
   jurisdiction” of the United States was in Elk v. Wilkins, 112 U.S. 94 (1884).
   That case hinged on whether a Native American who severed ties with the
   tribe and lived among whites was a U.S. citizen and entitled to vote. The
   Court held that the plaintiff had been born subject to tribal rather than U.S.
   jurisdiction and could not become a U.S. citizen merely by leaving the tribe
   and moving within the jurisdiction of the United States. The Court stated
   that: “The Indian tribes, being within the territorial limits of the United
   States, were not, strictly speaking, foreign States; but they were alien
   nations, distinct political communities, with whom the United States might and
   habitually did deal through treaties or acts of Congress. They were never
   deemed citizens of the United States except under explicit provisions of treaty
   or statute to that effect, either declaring a certain tribe, or such members of it
   as chose to remain behind on the removal of the tribe westward, to be
   citizens, or authorizing individuals of particular tribes to become citizens upon
   application for naturalization.”
b. The Act of June 2, 1924 was the first comprehensive law relating to the
   citizenship of Native Americans. It provided: That all non-citizen Indians born
   within the territorial limits of the United States be, and they are hereby,
   declared to be citizens of the United States: Provided, That the granting of
   such citizenship shall not in any manner impair or otherwise affect the right of
   any Indian to tribal or other property.
c. Section 201(b) NA, effective January 13, 1941, declared that persons born in
   the United States to members of an Indian, Eskimo, Aleutian, or other
   aboriginal tribe were nationals and citizens of the United States at birth.
d. INA 301(b) (8 U.S.C. 1401(b)) (formerly INA 301(a)(2)), in effect from
   December 24, 1952, restates this provision.


8 FAM 301.1-8 FOUNDLINGS
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(CT:CITZ-1;   06-27-2018)
a. Under INA 301(f) (8 U.S.C. 1401(f)) (formerly Section 301(a)(6)) INA), a child
   of unknown parents is conclusively presumed to be a U.S. citizen if found in
   the United States when under 5 years of age, unless foreign birth is
   established before the child reaches age 21.
b. Under Section 201(f) of the Nationality Act of 1940, a child of unknown
   parents, found in the United States, was presumed to have been a U.S. citizen
   at birth until shown not to have been born in the United States no matter at
   what age this might have been demonstrated.
                                UNCLASSIFIED (U)
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             EXHIBIT C
                      Case 2:25-cv-00127-JCC U.S. Department
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                                                                                                                  Control No. 1405-0004
                                         APPLICATION FOR A U.S. PASSPORT                                         Expiration Date: 04-30-2025
                                                                                                                 Estimated Burden: 85 Minutes
                         Please read all instructions first and type or print in black ink to complete this form.
              For information or questions, visit travel.state.gov or contact the National Passport Information Center (NPIC) at
                                      1-877-487-2778 (TDD/TTY: 1-888-874-7793) or NPIC@state.gov.
                                               SECTION A. ELIGIBILITY TO USE THIS FORM
This form is used to apply for a U.S. passport book and/or card in person at an acceptance facility, a passport agency (by appointment
only), or a U.S. embassy, consulate, or consular agency (if abroad). The U.S. passport is a travel document attesting to one’s identity and
issued to U.S. citizens or non-citizen U.S. nationals. To be eligible to use this form you must apply in person if at least one of the following
is true:
            I am applying for my first U.S. passport            My previous U.S. passport was either: a) issued under age 16;
            I am under age 16                                      b) issued more than 15 years ago; c) lost, stolen, or damaged
If none of the above statements apply to you, then you may be eligible to apply using form DS-82 or DS-5504 depending on your
circumstances. Visit travel.state.gov for more information.
•   Notice to Applicants Under Age 16: You must appear in person to apply for a U.S. passport with your parent(s) or legal guardian(s).
    See Section D of these instructions or travel.state.gov for more details.
•   Notice to Applicants Ages 16 and 17: At least one of your parent(s) or legal guardian(s) must know that you are applying for a U.S.
    passport. See Section D of these instructions or travel.state.gov for more details.
•   Notice to Applicants for No-Fee Regular, Service, Official, or Diplomatic Passports: You may use this application if you meet all
    provisions listed; however, you must consult your sponsoring agency for instructions on proper routing procedures before forwarding
    this application. Your completed passport will be released to your sponsoring agency and forwarded to you.
                                        SECTION B. STEPS TO APPLY FOR A U.S. PASSPORT
    1.   Complete this form (Do not sign until requested to do so by an authorized agent).
    2.   Attach one color photograph 2x2 inches in size and supporting documents (See Section D of these instructions).
    3.   Schedule appointment to apply in person by visiting our website or calling NPIC (see contact info at the top page).
    4.   Arrive for appointment and present completed form and attachments to the authorized agent who will administer the oath, witness
         you signing your form, and collect your passport fee.
    5.   Track application status online at Passportstatus.state.gov.
    6.   Receive new passport and original supporting documents (that you submitted with your application).
                                             SECTION C. HOW TO COMPLETE THIS FORM
Please see the instructions below for items on the form that are not self-explanatory. The numbers match the numbered items of the form.
1. Name (Last, First, Middle): Enter the name to appear in the passport. The name to appear in the passport should be consistent with
    your proof of citizenship and identification. If you have changed your name and are not eligible to use a DS-82 or DS-5504, you must
    use this form. Visit travel.state.gov/namechange for more information.
2. Date of Birth: Use the following format: Month, Date, and Year (MM/DD/YYYY).
3. Gender: The gender markers used are “M” (male), “F” (female) and “X” (unspecified or another gender identity). The gender marker
    that you check on this form will appear in your passport regardless of the gender marker(s) on your previous passport and/or your
    supporting evidence of citizenship and identity. If changing your gender marker from what was printed on your previous passport,
    select “Yes” in this field on Application Page 1. If no gender marker is selected, we may print the gender as listed on your
    supporting evidence or contact you for more information. Please Note: We cannot guarantee that other countries you visit or travel
    through will recognize the gender marker on your passport. Visit travel.state.gov/gender for more information.
4. Place of Birth: Enter the name of the city and state if in the U.S. or city and country as presently known.
5. Social Security Number: You must provide a Social Security number (SSN), if you have been issued one, in accordance with Section
    6039E of the Internal Revenue Code (26 U.S.C. 6039E) and 22 U.S.C 2714a(f). If you do not have a Social Security number, you must
    enter zeros in this field and submit a statement, signed, and dated, that includes the phrase, “I declare under penalty of perjury under
    the laws of the United States of America that the following is true and correct: I have never been issued a Social Security Number by
    the Social Security Administration.” If you reside abroad, you must also provide the name of the foreign country where you reside. The
    U.S. Department of State must provide your SSN and foreign residence information to the U.S. Department of the Treasury which will
    use it in connection with debt collection and check against lists of persons ineligible or potentially ineligible to receive a U.S. passport,
    among other authorized uses. If you fail to provide the information, we may deny your application and the Internal Revenue Service
    (IRS) may enforce a penalty. Refer all questions on this matter to the nearest IRS office.
 6. Email: By providing your email you are consenting to us              7. Primary Contact Phone Number: If providing a mobile/cell
     communicating with you by email about your application.                phone number you are consenting to receive calls and/or text
                                                                            messaging about your application.
8. Mailing Address Line 1 and 2 "In Care Of": For line 1 enter applicant’s Street/RFD #, or P.O. Box or URB. For line 2, if you do not
    live at the address listed in this field, put the name of the person who lives at this address and mark it "In Care Of". If the applicant is
    a minor child, you must include the "In Care Of" name of the parent or adult registered to receive mail at this address.
9. List all other names you have used: Enter all legal names previously used to include maiden name, name changes, and previous
    married names. You can enter up to two names one in item A and one in item B. If only your last name has changed just enter your
    last name. If you need more space to write additional names, please use a separate sheet of paper and attach it to this form.
         Blue Section Application Page 1 - Identifying Documents and Signature Blocks: Skip this section and complete Application Page 2.
         Do not sign this form until requested to do so by the authorized agent who will administer the oath to you.


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                                         APPLICATION FOR A U.S. PASSPORT
                                     SECTION D. ATTACHMENTS TO SUBMIT WITH THIS FORM
             Once you have completed Application Pages 1 and 2, attach the supporting documents as outlined in this section.
1.    PROOF OF U.S. CITIZENSHIP Information can be found on travel.state.gov/citizenship.
              Applicants Born in the United States                                         Applicants Born Outside the United States
Your evidence will be returned to you if it is not damaged, altered,          If we determine that you are a U.S. citizen, your lawful permanent
or forged. Submit an original or certified copy and a photocopy of            resident card submitted with this application will be forwarded to
the front and back if there is printed information on the back, of            U.S. Citizenship and Immigration Services.
one of the following documents:
                                                                              •     Claiming Citizenship through Naturalization of One or Both
•    U.S. Birth Certificate that meets all the following requirements:              Parent(s), submit all the following:
     o Issued by the city, county, or state of birth                                o Your parent(s) Certificate(s) of Naturalization
     o Lists your full name, birthdate, and birthplace                              o Your parents' marriage/certificate and/or evidence that you
     o Lists your parent(s)' full names                                                 were in the legal and physical custody of your U.S. citizen
     o Lists date filed with registrar's office (must be within one                     parent, if applicable
          year of birth)                                                            o Your foreign birth certificate (and official translation if the
     o Shows registrar's signature and the seal of the issuing                          document is not in English)
          authority                                                                 o Your evidence of admission to the United States for legal
•    Fully valid, undamaged U.S. passport (may be expired)                              permanent residence and proof you subsequently resided
•    Consular Report of Birth Abroad or Certification of Birth Abroad                   in the United States
•    Certificate of Naturalization or Citizenship
                                                                              •     Claiming Citizenship through Birth Abroad to At Least One U.S.
•    Secondary documents may be submitted if the U.S. birth                         Citizen Parent, submit all the following:
     certificate was filed more than one year after your birth or if no             o Your Consular Report of Birth Abroad (Form FS-240),
     birth record exists. For no birth record on file, submit a                          Certification of Birth (Form DS-1350 or FS-545), or your
     registrar's letter to that effect. For both scenarios, submit a                     foreign birth certificate (and official translation if the
     combination of the evidence listed below, with your first and last                  document is not in English)
     name, birthdate and/or birthplace, the seal or other certification             o Your parent’s proof of U.S. citizenship
     of the office (if customary), and the signature of the issuing                 o Your parents' marriage certificate
     official.                                                                      o Affidavit showing all your U.S. citizen parents' periods and
     o A hospital birth record                                                           places of residence and physical presence before your
     o An early baptismal or circumcision certificate                                    birth (DS-5507)
     o Early census, school, medical, or family Bible records
     o Insurance files or published birth announcements (such as           Claiming Citizenship Through Adoption by a U.S. Citizen
                                                                              •
          a newspaper article)                                             Parent(s), if your birthdate is on or after October 5, 1978,
     o Notarized affidavits (or DS-10, Birth Affidavit) of older blood     submit evidence of all the following:
          relatives having knowledge of your birth may be submitted        o Your permanent residence status
          in addition to some of the records listed above.                 o Your full and final adoption
                                                                           o You were in the legal and physical custody of your U.S.
                                                                                 citizen parent(s)
                                                                           o You have resided in the United States
2.   PROOF OF IDENTITY Information can be found at travel.state.gov/identification.
Present your original identification and submit a front and back photocopy with this form. It must show a photograph that is a good likeness
of you. Examples include:
• Driver's license (not temporary or learner's permit)            • Federal, state, or city government employee identification
• Previous or current U.S. passport book/card                     • Certificate of Naturalization or Citizenship
• Military identification
3.   A RECENT COLOR PHOTOGRAPH See the full list of photo requirements on travel.state.gov/photos.
Attach one photo, 2x2 inches in size. U.S. passport photo requirements may differ from photo requirements of other countries. To avoid
processing delays, be sure your photo meets all the following requirements (Refer to the photo template on Application Page 1):

•    Taken less than six months ago                                       •       No eyeglasses and head covering and no uniforms*
•    Head must be 1-1 3/8 inches from the bottom of the                   •       Printed on matte or glossy photo quality paper
     chin to the top of the head                                          •       Use a plain white or off-white background
•    Head must face the camera directly with full face in view
*Head coverings are not acceptable unless you submit a signed statement verifying that it is part of recognized, traditional religious attire
that is customarily or required to be worn continuously in public or a signed doctor's statement verifying its daily use for medical purposes.
Glasses or other eyewear are not acceptable unless you submit a signed statement from a doctor explaining why you cannot remove them
(e.g., during the recovery period from eye surgery). Photos are to be taken in clothing normally worn on a daily basis. You cannot wear a
uniform, clothing that looks like a uniform, or camouflage attire.


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                                        APPLICATION FOR A U.S. PASSPORT
4. PROOF OF PARENTAL RELATIONSHIP (FOR APPLICANTS UNDER AGE 16)
Parents/guardians must appear in person with the child and submit the following:
• Evidence of the child's relationship to parents/guardian(s) (Example: a birth certificate or Consular Report of Birth Abroad listing the
     names of the parent(s)/guardian(s) and child)
• Original parental/guardian government-issued photo identification and a photocopy of the front and back (to satisfy proof of identity)
If only one parent/guardian can appear in person with the child, you must also submit one of the following:
• The second parent's notarized written statement or DS-3053 (including the child's full name and date of birth) consenting to the
     passport issuance for the child. The notarized statement cannot be more than three months old, must be signed and notarized on the
     same day, and must come with a front and back photocopy of the second parent's government-issued photo identification.
• The second parent’s death certificate (if second parent is deceased)
• Evidence of sole authority to apply (Example: a court order granting sole legal custody or a birth certificate listing only one parent)
• A written statement (made under penalty of perjury) or DS-5525 explaining, in detail, why the second parent cannot be reached
OR

PROOF OF PARENTAL AWARENESS (FOR APPLICANTS AGES 16 AND 17)
We may request the consent of one legal parent/legal guardian to issue a U.S. passport to you. In many cases, the passport authorizing
officer may be able to ascertain parental awareness of the application by virtue of the parent’s presence when the minor submits the
application or a signed note from the parent or proof the parent is paying the application fees. However, the passport authorizing officer
retains discretion to request the legal parent’s/legal guardian’s notarized statement of consent to issuance (e.g., on Form DS-3053).
5. FEES Passport service fees are established by law and regulation (see 22 U.S.C. 214, 22 C.F.R. 22.1, and 22 C.F.R. 51.50-56) and
are collected at the time you apply for the passport service. By law, the passport fees are non-refundable. Visit travel.state.gov/
passportfees for current fees and how fees are used and processed. Payment methods are as follows:
               Applicant Applying in the United States                      Applicant Applying at a Passport Agency or
                       At Acceptance Facility                                         Outside the United States
• Passport fees must be made by check (personal, certified,            • We accept checks (personal, certified, cashier’s, travelers);
    cashier’s, travelers) or money order (U.S. Postal, international,      major credit cards (Visa, Master Card, American Express,
    currency exchange) with the applicant's full name and date of          Discover); money orders (U.S. Postal, international, currency
    birth printed on the front and payable to "U.S. Department of          exchange); or exact cash (no change provided). Make all fees
    State."                                                                payable to the "U.S. Department of State."
• The execution fee must be paid separately and made payable • If applying outside the United States: Please see the website of
    to the acceptance facility in the form that they accept.               your embassy, consulate, or consular agency for acceptable
                                                                           payment methods.
Other Services Requiring Additional Fee (Visit travel.state.gov for more details):
• Expedite Service: Only available for passports mailed in the United States and Canada.
• 1-2 Day Delivery: Only available for passport book (and not passport card) mailings in the United States.
• Verification of a previous U.S. Passport or Consular Report of Birth Abroad: Upon your request, we verify previously issued
    U.S. passport or Consular Report of Birth Abroad if you are unable to submit evidence of U.S. citizenship.
• Special Issuance Passports: If you apply for a no-fee regular, service, official, or diplomatic passport at a designated acceptance
    facility, you must pay the execution fee. No other fees are charged when you apply.
                                              SECTION E. HOW TO SUBMIT THIS FORM
Submitting your form depends on your location and how soon you need your passport.
• Applicant Located Inside the United States: For the latest information regarding processing times, scheduling appointments, and
   nearest designated acceptance facilities visit travel.state.gov or contact NPIC.

•   Applicant Located Outside the United States: In most countries, you must apply in person at a U.S. embassy or consulate for all
    passport services. Each U.S. embassy and consulate has different procedures for submitting and processing your application. Visit
    travel.state.gov to check the U.S. embassy or consulate webpage for more information.
                          SECTION F. RECEIVING YOUR PASSPORT AND SUPPORTING DOCUMENTS
•   Difference Between U.S. Passport Book and Card: The book is valid for international travel by air, land, and sea. The card is not valid
    for international air travel, only for entry at land border crossings and seaports of entry when traveling from Canada, Mexico, Bermuda,
    and the Caribbean. The maximum number of letters provided for your given name (first and middle) on the card is 24 characters. If both
    your given names are more than 24 characters, you must shorten one of your given names you list on item #1 of Application Page 1.
•   Separate mailings: You may receive your newly issued U.S. passport book and/or card and your citizenship evidence in two separate
    mailings. If you are applying for both a book and card, you may receive three separate mailings: one with your returned evidence, one
    with your newly issued book, and one with your newly issued card. All documentary evidence that is not damaged, altered, or
    forged will be returned to you. Photocopies will not be returned.
•   Passport numbers: Each newly issued passport book or card will have a different passport number than your previous one.
•   Shipping and Delivery Changes: If your mailing address changes prior to receipt of your new passport, please contact NPIC. NOTE:
    We will not mail a U.S. passport to a private address outside the United States or Canada.
•   Passport Corrections, Non-Receipt/Undeliverable Passports, and Lost/Stolen Passport: For more information visit travel.state.gov
    or contact NPIC.
     DS-11 04-2022                                                                                             Instruction Page 3 of 4
                      Case 2:25-cv-00127-JCC U.S. Department
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                                         APPLICATION FOR A U.S. PASSPORT
                                                                  WARNING
False statements made knowingly and willfully in passport applications, including affidavits or other documents submitted to support this
application, are punishable by fine and/or imprisonment under U.S. law including the provisions of 18 U.S.C. 1001, 18 U.S.C. 1542, and/or
18 U.S.C. 1621. Alteration or mutilation of a passport issued pursuant to this application is punishable by fine and/or imprisonment under
the provisions of 18 U.S.C. 1543. The use of a passport in violation of the restrictions contained herein or of passport regulations is
punishable by fine and/or imprisonment under 18 U.S.C. 1544. All statements and documents are subject to verification.

      Failure to provide information requested on this form, including your Social Security number, may result in significant
                                      processing delays and/or the denial of your application.
                                                          ACTS OR CONDITIONS
If any of the below-mentioned acts or conditions have been performed by or apply to the applicant, a supplementary explanatory statement
under oath (or affirmation) by the applicant should be attached and made a part of this application.

I have not been convicted of a federal or state drug offense or convicted of a statutory "sex tourism" crime, and I am not the subject of an
outstanding federal, state, or local warrant of arrest for a felony; a criminal court order forbidding my departure from the United States; or
a subpoena received from the United States in a matter involving federal prosecution for, or grand jury investigation of, a felony.
                                                        PRIVACY ACT STATEMENT
AUTHORITIES: Collection of this information is authorized by 22 U.S.C. 211 a et seq.; 8 U.S.C. 1104; 26 U.S.C. 6039E, 22 U.S.C.
2714a(f), Section 236 of the Admiral James W. Nance and Meg Donovan Foreign Relations Authorization Act, Fiscal Years 2000 and
2001; Executive Order 11295 (August 5, 1966); and 22 C.F.R. parts 50 and 51.

PURPOSE: We are requesting this information in order to determine your eligibility to be issued a U.S. passport. Your Social Security
number is used to verify your identity.

ROUTINE USES: This information may be disclosed to another domestic government agency, a private contractor, a foreign government
agency, or to a private person or private employer in accordance with certain approved routine uses. These routine uses include, but are
not limited to, law enforcement activities, employment verification, fraud prevention, border security, counterterrorism, litigation activities,
and activities that meet the Secretary of State's responsibility to protect U.S. citizens and non-citizen nationals abroad. Your Social
Security number will be provided to the U.S. Department of the Treasury and may be used in connection with debt collection, among other
purposes authorized and generally described in this section. More information on the routine uses for the system can be found in System
of Records Notices State-05, Overseas Citizen Services Records and Other Overseas Records and State-26, Passport Records.

DISCLOSURE: Providing information on this form is voluntary. Be advised, however, that failure to provide the information requested on
this form may cause delays in processing your U.S. passport application and/or could also result in the refusal or denial of your application.
Failure to provide your Social Security number may result in the denial of your application (consistent with 22 U.S.C. 2714a(f)) and may
subject you to penalty enforced by the Internal Revenue Service, as described in the Federal Tax Law on Instruction Page 1 (Section C) to
this form.
                                             PAPERWORK REDUCTION ACT STATEMENT
Public reporting burden for this collection of information is estimated to average 85 minutes per response, including the time required for
searching existing data sources, gathering the necessary data, providing the information and/or documents required, and reviewing the
final collection. You do not have to supply this information unless this collection displays a currently valid OMB control number. If you have
comments on the accuracy of this burden estimate and/or recommendations for reducing it, please send them to: Passport Forms Officer,
U.S. Department of State, Bureau of Consular Affairs, Passport Services, Office of Program Management and Operational Support, 44132
Mercure Cir, PO Box 1199, Sterling, Virginia 20166-1199.




   For more information about your application status, online tools, current fees, and
                    processing times, please visit travel.state.gov.




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             EXHIBIT D
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                                                                                 I am a
                                                                                 U.S. citizen                                          A4

                                                                                 How do I get proof
                                                                                 of my U.S. citizenship?



If you were born in the United States, you do not need to apply              I am a U.S. citizen. My child will be born abroad or recently
to USCIS for any evidence of citizenship. Your birth certificate issued      was born abroad. How do I register his or her birth and
where you were born is proof of your citizenship.1                           U.S. citizenship?
If you were born outside the United States, but one or both                  Please contact the U.S. Department of State or the U.S. Embassy
of your parents were U.S. citizens when you were born,                       or consulate in the country where your child will be born for more
you may still be a U.S. citizen. This is called citizenship through          information about eligibility requirements and how to register your
derivation. There are usually additional specific requirements, and          child’s U.S. citizenship.
sometimes citizenship can be through a combination of a parent and
grandparent.
                                                                             I was born overseas. My birth and U.S. citizenship were
                                                                             registered with the U.S. Embassy or consulate.
    What documents are usually accepted as proof of U.S.                     I need a copy of the evidence of my citizenship. Whom
    citizenship?                                                             should I contact?
The most common documents that establish U.S. citizenship are:               Contact the U.S. Department of State. For more information, please
     • Birth Certificate, issued by a U.S. State (if the person was          see their Web site at www.state.gov.
       born in the United States), or by the U.S. Department of State
       (if the person was born abroad to U.S. citizen parents who            I was born overseas. I believe I was a U.S. citizen at birth
       registered the child’s birth and U.S. citizenship with the U.S.       because one or both my parents were U.S. citizens when I
       Embassy or consulate);                                                was born. But my birth and citizenship were not registered
     • U.S. Passport, issued by the U.S. Department of State;                with the U.S. Embassy when I was born. Can I apply to
     • Certificate of Citizenship, issued to a person born outside the       have my citizenship recognized?
       United States who derived or acquired U.S. citizenship through a      Whether or not someone born outside the United States to a U.S.
       U.S. citizen parent; or                                               citizen parent is a U.S. citizen depends on the law in effect when
     • Naturalization Certificate, issued to a person who became             the person was born. These laws have changed over the years, but
       a U.S. citizen after 18 years of age through the naturalization       usually require a combination of the parent being a U.S. citizen when
       process.                                                              the child was born, and the parent having lived in the United States
                                                                             or its possessions for a specific period of time. Derivative citizenship
                                                                             can be quite complex and may require careful legal analysis.
    I was born in the United States. Where can I get a copy of
    my birth certificate?
                                                                             I was born overseas. One of my parents was a U.S.
Check with the Department of Health (Vital Records) in the U.S.              citizen but never lived in the United States. One of my
State in which you were born. For more information, visit the                grandparents was also a U.S. citizen. Could I have derived
National Center for Health Statistics web page at www.cdc.gov/               U.S. citizenship?
nchs/births.htm.
                                                                             If your parent was a U.S. citizen when you were born but had not
                                                                             lived in the United States for the required amount of time before
                                                                             your birth, but one of your grandparents was also a U.S. citizen
1
 An exception to this rule exists regarding children born in the United      and had already met the residence requirements, then you may still
States to foreign diplomats.


A4—I am a U.S. citizen…How do I get proof of my U.S. citizenship?
M-560B (October 2013) N
                                                                                                                                                   1
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                               The provisions of immigration Document 1 Filed 01/21/25 Page 58 of 85
have derived U.S. citizenship.                               law that
govern derivative citizenship are quite precise and circumstances in
                                                                       Key Information
individual cases can be complex. For specific information on how       Key USCIS forms referenced                        Form #
the law applies, please check our Web site at www.uscis.gov, or        in this guide
the U.S. Department of State Web site at www.state.gov, or call
                                                                       Application for Certificate of Citizenship      N-600
USCIS Customer Service at 1-800-375-5283.
                                                                       Application for Replacement Naturalization      N-565
                                                                       Citizenship Document
 I was born overseas. After I was born, my parent(s)
 became naturalized U.S. citizens. Could I have derived U.S.           Other U.S. Government Services–Click or Call
 citizenship?
                                                                       General        www.usa.gov                 1-800-333-4636
If one of your parents naturalized after February 27, 2001, and        Information
you were a permanent resident and under 18 years old at the time,
then you may have automatically acquired U.S. citizenship. Before      New            www.welcometoUSA.gov
that date, you may have automatically acquired U.S. citizenship if     Immigrants
you were a permanent resident and under 18 years old when both         U.S. Dept.     www.state.gov               1-202-647-6575
parents naturalized, or if you had only one parent when that parent    of State
naturalized.                                                           National       www.cdc.gov
However, if your parent(s) naturalized after you were 18, then you       Center           www.cdc.gov/nchs                1-800-311-3435
will need to apply for naturalization on your own after you have         for Health       /birth.htm
been a permanent resident for at least 5 years.                          Statistics


How do I apply to have my citizenship recognized?
You have two options:
  • You can apply to the U.S. Department of State for a U.S.
    passport. A passport is evidence of citizenship and also serves           For more copies of this guide, or information about
    as a travel document if you need to travel. For information about         other customer guides, please visit
    applying for a U.S. passport, see the U.S. Department of State            www.uscis.gov/howdoi.
    Web site at www.state.gov.
  • If you are already in the United States, you also have the
    option of applying to USCIS using Form N-600, Application for             You can also visit www.uscis.gov to download
    Certificate of Citizenship. However, you may find applying for            forms, e-file some applications, check the status of
    a passport to be more convenient because it also serves as a              an application, and more. It’s a great place to start!
    travel document and could be a faster process.
                                                                              If you don’t have Internet access at home
How do I replace a lost, stolen, or destroyed Naturalization                  or work, try your local library.
Certificate or Certificate of Citizenship?
To apply to replace your Naturalization Certificate or Certificate            If you cannot find what you need, please call
of Citizenship issued by USCIS or by the U.S. Immigration and                 Customer Service at: 1-800-375-5283
Naturalization Service, file a Form N-565, Application for                    Hearing Impaired TDD Customer Service:
Replacement Naturalization Citizenship Document. Filing instructions          1-800-767-1833
and forms are available on our Web site at www.uscis.gov.




                                                                                      Disclaimer: This guide provides basic information
                                                                                      to help you become generally familiar with our
                                                                                      rules and procedures. For more information, or
                                                                                      the law and regulations, please visit our Web
                                                                                      site. Immigration law can be complex, and it is
                                                                                      impossible to describe every aspect of every
                                                                                      process. You may wish to be represented by
                                                                                      a licensed attorney or by a nonprofit agency
                                                                                      accredited by the Board of Immigration Appeals.




A4—I am a U.S. citizen…How do I get proof of my U.S. citizenship?
M-560B (October 2013) N
                                                                                                                                           2
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        Social Security
         Numbers for
          Children




              SSA.gov
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   The easiest way to get a Social Security
   number (SSN) for your newborn is to
   apply when you provide information
   for your baby’s birth certificate in the
   hospital.
   If you wait to apply for a number at a
   Social Security office, there may be delays
   while we verify your child’s birth certificate.

   Why should I get a Social
   Security number for my child?
   You need an SSN to claim your child as
   a dependent on your income tax return.
   Your child may also need a number if
   you plan to:
   • Open a bank account for the child.
   • Buy savings bonds for the child.
   • Get medical coverage for the child.
   • Apply for government services for
     the child.

   Must my child have a Social
   Security number?
   Getting an SSN for your newborn is
   voluntary, but may be necessary to
   obtain important services, such as those
   listed above, for your child. Therefore,
   getting a number when your child is born
   is a good idea.
   How do I apply?
   At the hospital: When you complete
   the application for your baby’s birth
   certificate, you will be asked whether you
   want to apply for an SSN for your baby.
                          1
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   If you say “yes,” you will be asked to
   provide both parents’ SSNs. If you don’t
   know both parents’ SSNs, you still can
   apply for your child’s SSN.
   At a Social Security office: If you
   wait to apply for your child’s number,
   you can use our online Social Security
   Number and Card application available
   at www.ssa.gov/number-card. You
   will start the application online and
   complete the process in a local Social
   Security office or card center. If you are
   not able to apply online, you can fill out
   and print our Application for a Social
   Security Card (Form SS-5), available at
   www.ssa.gov/forms/ss-5.pdf.
   No matter where you apply, you will
   need to:
   • Show us original documents proving
     your child’s:
     —U.S. citizenship.
     —Age.
     —Identity.
   • Show us documents proving your
     identity and your relationship to
     your child.
   Anyone age 12 or older who requests
   an original SSN must appear in person
   for an interview. This applies even
   if a parent or guardian will sign the
   application on the child’s behalf.
   Citizenship
   We can accept only certain documents as
   proof of U.S. citizenship. These include a:
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   •   U.S. birth certificate.
   •   U.S. consular report of birth.
   •   U.S. passport (valid and unexpired).
   •   Certificate of Naturalization or
       Certificate of Citizenship.
   Noncitizens should see Social Security
   Numbers for Noncitizens (Publication
   No. 05-10096) for more information.
   Age
   If your child was born in the United
   States, you need to present your child’s
   birth certificate. If your child does not
   have a birth certificate, we may be able to
   accept a:
   • Religious record made before the age
       of 5 showing the date of birth.
   • U.S. hospital record of birth.
   • U.S. passport or passport card.
   If your child was born outside the United
   States, you need to present your child’s
   foreign birth certificate. You may already
   have it or can get a copy within 10
   business days. If you can’t get it, we may
   be able to accept your child’s:
   • Certificate of Birth Abroad (FS-545).
   • Certificate of Report of Birth
       (DS-1350).
   • Consular Report of Birth Abroad
       (FS-240).
   • Certificate of Naturalization.
   • Passport.


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   Identity
   Your child: We can accept only certain
   documents as proof of your child’s
   identity. An acceptable document must
   be current (not expired) and show your
   child’s name, identifying information,
   and, preferably, a recent photograph. We
   generally can accept a non-photo identity
   document if it has enough information to
   identify the child. Information may include
   the child’s name and age, date of birth,
   or parents’ names. We prefer to see the
   child’s unexpired U.S. passport. If that
   document isn’t available, we may accept
   the child’s:
   • Unexpired valid state-issued
      nondriver identification card.
   • Adoption decree.
   • Certified copy of medical record
      (doctor, clinic, or hospital).
   • Religious record.
   • Certified school record showing your
      child’s name and your child’s age or
      date of birth (must be for the current
      or prior year).
   • School identification card showing
      your child’s name and either a
      photograph of your child, your child’s
      age, or date of birth (must be for the
      current or prior year).
   You: If you’re a U.S. citizen, we will
   ask to see your U.S. driver’s license,
   state-issued nondriver identification
   card, or U.S. passport as proof of your
   identity. If you don’t have these specific
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   documents, we’ll ask to see other
   documents that may be available, such
   as:
   • Unexpired U.S. passport or passport
     card.
   • Certificate of U.S. Citizenship.
   • Certificate of Naturalization.
   • School identification card showing
     your name and either your
     photograph, age, or date of birth
     (must be for the current or prior
     year).
   • Health insurance card (not a Medicare
     card) showing your name and either
     your photograph, or age, or date of
     birth.
   • U.S. military identification card.
   • Employee identification card
     showing your name and either your
     photograph or date of birth.
   • Life insurance policy.
   All documents must be either
   originals or copies certified by the
   issuing agency. We can’t accept
   photocopies or notarized copies of
   documents. We may use 1 document
   for 2 purposes. For example, we may
   use your child’s passport as proof of
   both citizenship and identity. Or, we
   may use your child’s birth certificate as
   proof of age and citizenship. However,
   you must provide at least 2 separate
   documents.



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   We’ll mail your child’s number and card
   as soon as we have all of your child’s
   information and have verified your child’s
   documents.

   What if my child is adopted?
   We can assign your adopted child an
   SSN before the adoption is complete, but
   you may want to wait until the adoption
   is finalized. Then, you can apply for the
   number using your child’s new name,
   with your name as parent. You may
   want to claim your child for tax purposes
   while the adoption is still pending. If so,
   contact the Internal Revenue Service
   for Form W-7A, Application for Taxpayer
   Identification Number for Pending U.S.
   Adoptions.

   What does it cost?
   There’s no charge for issuing an SSN
   and card. If someone contacts you
   and wants to charge you for getting a
   number or card, please remember that
   these Social Security services are free.
   You can report anyone attempting to
   charge you by calling our Office of the
   Inspector General hotline at 1-800-
   269-0271 (TTY 1-866-501-2101 deaf
   or hard of hearing) from 10:00 a.m.
   to 4:00 p.m. Eastern Time or visit
   https://oig.ssa.gov.




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   What if I lose the card?
   You can replace your Social Security
   card if it’s lost or stolen. You’re limited
   to 3 replacement cards in a year and
   10 during your lifetime. Legal name
   changes and other exceptions don’t
   count toward these limits. For example,
   changes in noncitizen status that
   require card updates may not count
   toward these limits. Also, you may not
   be affected by these limits if you can
   prove you need the card to prevent a
   significant hardship.
   Your child’s Social Security card is an
   important document. We recommend
   you keep it in a safe place. Do not carry
   it with you.

   Social Security number misuse
   If you think someone is using your
   child’s SSN fraudulently, you should
   file a complaint with the Federal Trade
   Commission via:
   • Internet — www.identitytheft.gov.
   • Telephone — 1-877-IDTHEFT
       (1-877-438-4338).
   • TTY — 1-866-653-4261.
   It’s against the law to:
   • Use someone else’s SSN.
   • Give false information when applying
       for a number.
   • Alter, buy, or sell Social Security cards.


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   Contacting Us
   The most convenient way to do business
   with us is to visit www.ssa.gov to get
   information and use our online services.
   There are several things you can
   do online: apply for benefits; start or
   complete your request for an original or
   replacement Social Security card; get
   useful information; find publications;
   and get answers to frequently asked
   questions.
   When you open a personal
   my Social Security account, you have
   more capabilities. You can review
   your Social Security Statement, verify
   your earnings, and get estimates of
   future benefits. You can also print
   a benefit verification letter, change
   your direct deposit information (Social
   Security beneficiaries only), and get a
   replacement SSA-1099/1042S. Access
   to your personal my Social Security
   account may be limited for users outside
   the United States.
   If you don’t have access to the internet,
   we offer many automated services by
   telephone, 24 hours a day, 7 days a
   week, so you may not need to speak
   with a representative.
   If you need to speak with someone, call
   us toll-free at 1-800-772-1213 or at our
   TTY number, 1-800-325-0778, if you’re
   deaf or hard of hearing. A member of
   our staff can answer your call from 8
   a.m. to 7 p.m., Monday through Friday.
   We provide free interpreter services
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   upon request. For quicker access to a
   representative, try calling early in the
   day (between 8 a.m. and 10 a.m. local
   time) or later in the day. We are less
   busy later in the week (Wednesday to
   Friday) and later in the month.




            Social Security Administration
               Publication No. 05-10023
         January 2024 (Recycle prior editions)
          Social Security Numbers for Children
    Produced and published at U.S. taxpayer expense
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                           TEXT TRUMP TO 88022!
                                                       PLATFORM NEWS EVENTS
                                 GET INVOLVED
                                     TRUMP FORCE 47
                                                                    CONTRIBUTE
                                    PROTECT THE VOTE


                                                                                SHOP
    BACK TO VIDEOS



Agenda47: Day One Executive Order
Ending Citizenship for Children of
Illegals and Outlawing Birth Tourism
May 30, 2023




 Agenda47: Day One Executive Order Ending Citizenship for Children of Illegals a…
                                                                               a…




Mar-a-Lago, FL— In a new Agenda47 video, President Donald J. Trump announced
his plan to sign an executive order on Day One to end automatic citizenship for
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children of illegal aliens.

“As part of my plan to secure the border, on Day One of my new term in office, I will
sign an executive order making clear to federal agencies that under the correct
interpretation of the law, going forward, the future children of illegal aliens will not
receive automatic U.S. citizenship,” President Trump said.

“My policy will choke off a major incentive for continued illegal immigration, deter
more migrants from coming, and encourage many of the aliens Joe Biden has
unlawfully let into our country to go back to their home countries.”

PRESIDENT TRUMP’S PLAN TO DISCOURAGE ILLEGAL IMMIGRATION BY ENDING
AUTOMATIC CITIZENSHIP FOR THE CHILDREN OF ILLEGAL ALIENS AND
OUTLAWING BIRTH TOURISM

A DAY-ONE EXECUTIVE ORDER TO SHUT OFF A MAGNET FOR ILLEGAL
IMMIGRATION:

- On Day One, President Trump will sign an Executive Order to stop federal agencies
from granting automatic U.S. citizenship to the children of illegal aliens.

- It will explain the clear meaning of the 14th Amendment, that U.S. Citizenship
extends only to those both born in AND “subject to the jurisdiction” of the United
States.

- It will make clear that going forward, the children of illegal aliens will not be granted
automatic citizenship, and should not be issued passports, Social Security numbers,
or be eligible for certain taxpayer funded welfare benefits.

- It will direct federal agencies to require that at least one parent be a U.S. citizen or
lawful permanent resident for their future children to become automatic U.S.
citizens.

- This Executive Order ending automatic citizenship for the children of illegal aliens
will eliminate a major incentive for illegal immigration, discourage future waves of
illegal immigration to exploit this misapplication of citizenship, and encourage illegal
aliens in the U.S. to return home.
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- The Executive Order will also stop “Birth Tourism.”

- Through “Birth Tourism,” tens of thousands of foreign nationals fraudulently enter
the U.S. each year during the final weeks of their pregnancies for the sole purpose of
obtaining U.S. citizenship for their child.

- Under the current erroneous interpretation, the children of these foreign nationals
are then eligible to receive a host of government benefits reserved for U.S. citizens,
including a myriad of welfare programs and taxpayer funded healthcare, as well as
chain migration and the right to vote.

- The Executive Order is part of a larger strategy to fully secure the Southern Border
starting on Day One. It will remove a major incentive for illegal aliens and other
foreign nationals to come to and remain in the United States in violation of our laws
and National sovereignty.

- The announcement of today’s Executive Order follows a historical slate of hundreds
of executive actions, proclamations, and presidential memorandums on border
security and immigration that President Trump implemented while in office to
remake the immigration system in the United States for the interest of the American
people, including:

- Executive Order Implementing the Travel Ban and Pausing Refugee Admissions

- Executive Order on Border Security and Immigration Enforcement

- Presidential Memorandum on the Extreme Vetting of Foreign Nationals

- Presidential Memorandum to Create a National Vetting Center

- Executive Order to Unleash Interior Immigration Enforcement

- Executive Order to Block Federal Grants to Sanctuary Cities

- Presidential Memorandum Ordering DHS to Train National Guard Troops to Assist
with Border Enforcement

- Presidential Memorandum to End "catch and release" at the Border
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- Presidential Proclamation Suspending Entry Across Southern Border Outside Ports
of Entry to Bar Asylum Access

- Executive Order requiring the U.S. Government to Prioritize the Hiring of U.S.
Workers in the Administration of all Immigration Programs

- Executive Order on Aligning Federal Contracting and Hiring Practices with the
Interests of American Workers

- Presidential Proclamation Suspending Chain Migration, Visa Lottery, and All Non-
Essential Foreign Workers

- Presidential Proclamation on Suspension of Entry of Immigrants Who Will
Financially Burden the United States Healthcare System

- Presidential Memorandum to Cut Off Immigrant Access to the Welfare State

PRESIDENT TRUMP’S EXECUTIVE ORDER WILL FINALLY ENSURE THAT THE
FEDERAL GOVERNMENT NO LONGER ADHERES TO A PATENTLY INCORRECT
INTERPRETATION OF THE 14TH AMENDMENT:

- Constitutional scholars have shown for decades that granting automatic citizenship
to the children of illegal aliens born in the United States is based on a patently
incorrect interpretation of the 14th Amendment.

- The 14th Amendment extends federal citizenship to “[a]ll persons born or
naturalized in the United States, and subject to the jurisdiction thereof.”

- The purpose of the 14th Amendment had nothing to do with the citizenship of
immigrants, let alone the citizenship of the children of illegal aliens. Its purpose was
to extend citizenship to people newly freed from slavery, whose status was left in
question after the infamous case Dred Scott v. Sandford.

- The framers of the 14th Amendment made clear that “persons born in the United
States who are foreigners, aliens [or] who belong to the families of ambassadors or
foreign ministers” are not “subject to the jurisdiction” of the U.S.
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- For years, open-borders proponents have deliberately misinterpreted “subject to
the jurisdiction” in the 14th Amendment to mean merely subject to American law,
which is the case for anyone physically present in the United States.

- This twisting of the amendment's meaning and intent has caused America to
become one of the few countries in the world to extend citizenship to the children of
illegal aliens even if both parents are not citizens nor even legally present in the
United States, thus diluting the privileges that Americans are entitled to.

BIDEN’S OPEN BORDER POLICY IS A NATIONAL SECURITY, ECONOMIC, AND
HUMANITARIAN DISASTER:

- A record number of illegal aliens crossed the southern border in both 2021 and
2022. In the official numbers alone, there have been over 6.6 million illegal crossings
since Biden took office—but the true numbers are much higher.

- Biden has deliberately made his border disaster worse by abolishing Title 42 this
month, allowing for an additional 400,000 illegal aliens from all corners of the globe
to pour across our border each month.

- This invasion is wasting our resources, lowering our citizens’ wages, poisoning our
communities with lethal drugs, and threatening our national security.

- Illegal immigration reduces American workers’ wages by $99 to $118 billion each
year, with the burden falling most heavily on low-wage workers.

- Thousands of pounds of deadly drugs are pouring across our borders, poisoning
over 100,000 of our citizens each year. Fueled in large part by Biden’s border disaster,
fentanyl poisoning has become the leading cause of death for Americans between
the ages of 18 and 45.

- Nearly 100 known or suspected terrorists were arrested at the border last year—
more than three times the total for the previous five years combined. Border arrests
of illegal alien murderers increased by over 1,900% and arrests of illegal alien drug
traffickers increased by 480% since 2020.

- Biden’s open border policy has also created a humanitarian crisis, with migrant
deaths reaching a record high last year and human smuggling arrests up 82% since
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2014.

TRANSCRIPT

Joe Biden has launched an illegal foreign invasion of our country allowing a record
number of illegal aliens to storm across our borders. From all over the world, they
came. Under Biden's current policies even though these millions of illegal border
crossers have entered the country unlawfully, all of their future children will become
automatic U.S. citizens. Can you imagine?

They'll be eligible for welfare, taxpayer-funded healthcare, the right to vote, chain
migration, and countless other government benefits, many of which will also profit
the illegal alien parents. This policy is a reward for breaking the laws of the United
States and is obviously a magnet, helping draw the flood of illegals across our
borders.

They come by the millions and millions and millions. They come from mental
institutions, they come from jails-- prisoners, some of the toughest, meanest people
you'll ever see. The United States is among the only countries in the world that says
that even if neither parent is a citizen nor even lawfully in the country, their future
children are automatic citizens the moment the parents trespass onto our soil. As
has been laid out by many scholars, this current policy is based on a historical myth,
and a willful misinterpretation of the law by the open borders advocates. There aren't
that many of them around.

It's an amazing. Who wants this? Who wants to have prisoners coming into our
country? Who wants to have people who are very sick coming into our country?
People from mental institutions coming into our country? And come they will,
they're coming by the thousands, by the tens of thousands.

As part of my plan to secure the border on Day One of my new term in office, I will
sign an executive order making clear to federal agencies that under the correct
interpretation of the law, going forward, the future children of illegal aliens will not
receive automatic U.S. citizenship. It's things like this that bring millions of people to
our country, and they enter our country illegally. My policy will choke off a major
incentive for continued illegal immigration, deter more migrants from coming, and
encourage many of the aliens Joe Biden has unlawfully let into our country to go
back to their home countries.
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They must go back. Nobody could afford this. Nobody could do this. And even
morally it's so wrong. My order will also end their unfair practice known as birth
tourism, where hundreds of thousands of people from all over the planet squat in
hotels for their last few weeks of pregnancy to illegitimately and illegally obtain US
citizenship for the child, often to later exploit chain migration to jump the line and
get green cards for themselves and their family members.

It's a practice that's so horrible, and so egregious, but we let it go forward. At least
one parent will have to be a citizen or a legal resident in order to qualify. We will
secure our borders and we will restore our sovereignty. Starting on Day One, our
country will be great again. Our country will be a country again. We'll have borders,
we'll have proper education, and we'll put America First.

Thank you.
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           POLITICS        POLICY


           Trump Prepares for Legal Fight Over
           His ‘Birthright Citizenship’ Curbs
           Many constitutional scholars and civil-rights groups have said a change
           can’t be done through executive action

           By Tarini Parti Follow and Michelle Hackman Follow
           Updated Dec. 8, 2024 9:16 pm ET




           People riding the ferry to Ellis Island for a naturalization ceremony pass the Statue of Liberty. PHOTO:
           ALEX KENT/AFP/GETTY IMAGES


           WASHINGTON—President-elect Donald Trump’s transition team is drafting
           several versions of his long-promised executive order to curtail automatic
           citizenship for anyone born in the U.S., according to people familiar with the
           matter, as his aides prepare for an expanded legal fight.
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Trump, who has railed against so-called birthright citizenship for years, said
during his first term that he was planning an executive order that would outright
ban it. Such an order was never signed, but the issue remained a focus of
Trump’s immigration proposals during his re-election campaign. He has said he
would tackle the issue in an executive order on day one of his second term.

Weeks before he takes office, Trump’s transition team is now considering how
far to push the scope of such an order, knowing it would almost immediately be
challenged in court, according to a transition official and others familiar with the
matter. The eventual order is expected to focus on changing the requirements
for documents issued by federal agencies that verify citizenship, such as a
passport.

Through an executive order or the agency rule-making process, Trump is also
expected to take steps to deter what Trump allies call “birth tourism,” in which
pregnant women travel to the U.S. to have children, who receive the benefit of
citizenship. One option on the table is to tighten the criteria to qualify for a
tourist visa, according to people familiar with the Trump team’s thinking.
Tourist visas are most often issued for a period of 10 years, though the tourist
can’t stay in the U.S. on each visit for longer than six months.




President-elect Donald Trump has said he would tackle birthright citizenship in an executive order on
day one of his second term. PHOTO: OLIVIER TOURON/AFP/GETTY IMAGES


Karoline Leavitt, a spokeswoman for the Trump transition, said the president-
elect “will use every lever of power to deliver on his promises, and fix our broken
immigration system once and for all.”
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Some on the right have backed Trump’s plans and argued that birthright
citizenship is a misinterpretation of the 14th amendment, which dates back to
the 19th century and in part granted full citizenship to former slaves. They have
also criticized birth tourism. Companies in China have attracted attention in
recent years for advertising such services, and airlines in Asia even started
turning away some pregnant passengers they suspected of traveling to give
birth.

“Because you happen to be in this country when your child is born, is not a
reason for that child to be a U.S. citizen. It’s just silly, and the reliance on it in law
is utterly misplaced,” said Ken Cuccinelli, a senior fellow at the Center for
Renewing America, a pro-Trump think tank, who previously served as deputy
secretary of Homeland Security.

Many constitutional scholars and civil-rights groups have said a change to
birthright citizenship can’t be done through executive action and would require
amending the Constitution—a rare and difficult process. The most recent
amendment was ratified in 1992, more than 200 years after it was first proposed.

Trump on the campaign trail this year offered more details on what executive
action related to birthright citizenship could include compared with his first
term, a change that some backers took as an indication that he is more willing to
act on the issue.

Trump said he would sign a “day one” executive order directing federal agencies
to require a child to have at least one parent be either a U.S. citizen or legal
permanent resident to automatically become a U.S. citizen. It would also stop
agencies from issuing passports, Social Security numbers and other welfare
benefits to children who don’t meet the new requirement for citizenship, the
president-elect’s campaign had said.

“My policy will choke off a major incentive for continued illegal immigration,
deter more migrants from coming, and encourage many of the aliens Joe Biden
has unlawfully let into our country to go back to their home countries,” Trump
said in a campaign video.

But the requirement that at least one parent be a U.S. citizen or legal permanent
resident would also affect children born to parents who immigrated legally
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through visas, excluding them from automatic citizenship.

“The new piece of it is them talking publicly about the mechanism they might try
to use to operationalize this unconstitutional plan,” said Omar Jadwat, director
of the American Civil Liberties Union’s Immigrants’ Rights Project. “They just
can’t do that consistent with the constitution.”

                                                       “Litigation is definitely going to
                                                       follow,” he added.

                                                       The Supreme Court affirmed
                                                       birthright citizenship in its 1898
                                                       ruling in U.S. v. Wong Kim Ark. But
                                                       critics of automatic citizenship
                                                       argue Trump’s proposed
                                                       citizenship restrictions would be
                                                       different from that case, which
                                                       involved a child born to Chinese
                                                       parents who were legal permanent
                                                       residents in the U.S.

                                                       Trump’s allies say a legal fight that
Portrait of Wong Kim Ark, whose case affirmed
                                                       makes its way to the Supreme
birthright citizenship. PHOTO: NATIONAL
ARCHIVES/GETTY IMAGES
                                                       Court is the point of the executive
                                                       order.

“Force the issue and see what happens,” said Mark Krikorian, executive director
for the Center for Immigration Studies, a group favoring immigration
restrictions that was close to Trump’s first administration. Even with the court’s
conservative majority, Krikorian isn’t optimistic about Trump’s chances.

“I think they’ll probably uphold the current interpretation of the 14th
Amendment,” he said. “They’re going to want to start that court fight as soon as
possible to see if they can see it through to the end before the administration
ends,” he said.

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Appeared in the December 9, 2024, print edition as 'Trump Set to Target ‘Birthright’ Citizens'.

Videos



   WSJ Opinion: Hits and Misses of the Week




            02:31



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